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                                                                           9
                                                                                                      UNITED STATES DISTRICT COURT
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                                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                           11

                                                                           12   BENJAMIN SPIRO, LEAH SPIRO,           Case No.
                                                                                and STEPHANIE REBECCA
                                                                           13   ANDRECS, individually and on behalf   CLASS ACTION COMPLAINT
                                                                                of all others similarly situated,
                                                                           14                                           1. VIOLATION OF UNFAIR
                                                                                                    Plaintiffs,            COMPETITION LAW (CAL.
                                                                           15                                              BUS. & PROF. CODE §§ 17200,
                                                                                             v.                            ET SEQ.)
                                                                           16                                           2. VIOLATION OF FALSE
                                                                                EVERLYWELL, INC.,                          ADVERTISING LAW (CAL.
                                                                           17                                              BUS. & PROF. CODE §§ 17500,
                                                                                                    Defendant.             ET SEQ.)
                                                                           18                                           3. VIOLATION OF CONSUMERS
                                                                                                                           LEGAL REMEDIES ACT
                                                                           19                                              (CAL. CIV. CODE §§ 1750, ET
                                                                                                                           SEQ.)
                                                                           20                                           4. VIOLATION OF CALIFORNIA
                                                                                                                           MEDICAL INFORMATION
                                                                           21                                              PRIVACY ACT (CAL. CIV.
                                                                                                                           CODE §§ 56, ET SEQ.)
                                                                           22                                           5. BREACH OF WARRANTY
                                                                                                                        6. UNJUST ENRICHMENT
                                                                           23                                           7. FRAUD, DECEIT, AND/OR
                                                                                                                           MISREPRESENTATION
                                                                           24                                           8. NEGLIGENT
                                                                                                                           MISREPRESENTATION
                                                                           25
                                                                                                                      JURY TRIAL DEMANDED
                                                                           26

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                                                                                                           CLASS ACTION COMPLAINT
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                                                                                                                  CLASS ACTION COMPLAINT
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                                                                           1                                       COMPLAINT
                                                                           2          1.    Plaintiffs Benjamin Spiro, Leah Spiro, and Stephanie Rebecca Andrecs
                                                                           3    (“Plaintiffs”), individually and on behalf of all others similarly situated, bring this
                                                                           4    class action complaint against Defendant Everlywell, Inc. (“Defendant”). Plaintiffs’
                                                                           5    allegations are based upon personal knowledge, and upon information and belief as
                                                                           6    to all other matters predicated upon the investigation conducted by and through
                                                                           7    Plaintiffs’ attorneys.
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                                                                           8                                     INTRODUCTION
                                                                           9          2.    At a time when personal health and wellness have taken center stage,
                                                                           10   products promising to unravel food sensitivities have become crucial for consumers
                                                                           11   who want to understand and manage their dietary health. Yet companies like
                                                                           12   Defendant misrepresent the capabilities of these products to boost their profits and
                                                                           13   obtain an unfair advantage over lawful competitors. Defendant deceptively labels and
                                                                           14   advertises its Immunoglobulin G (IgG) Food Sensitivity Test and its IgG Food
                                                                           15   Sensitivity Comprehensive Test (collectively, the “Product”), promising consumers
                                                                           16   that it can identify food sensitivities by measuring IgG antibody levels. But the
                                                                           17   Product cannot deliver this benefit because IgG antibodies cannot detect food
                                                                           18   sensitivities and simply act as a marker for food consumption. 1 Through its deceptive
                                                                           19   practices, Defendant misleads consumers into chasing false positives, making
                                                                           20   unnecessary dietary alterations, and paying a premium for a Product that does not
                                                                           21   work. In addition, consumers unknowingly surrender their personal information to
                                                                           22   Defendant under the guise of procuring valuable health insights, thereby raising
                                                                           23   significant privacy concerns and potential for misuse of this sensitive data.
                                                                           24         3.    Defendant claims that its Product is a “Physician reviewed” and CLIA-
                                                                           25   certified (Clinical Laboratory Improvement Amendments) test that measures IgG
                                                                           26   antibody levels to identify food sensitivities. Defendant advertises that its IgG Food
                                                                           27   1
                                                                                 The Myth of IgG Food Panel Testing, AM. ACAD. OF ALLERGY ASTHMA AND
                                                                                IMMUNOLOGY, https://www.aaaai.org/Tools-for-the-Public/Conditions-
                                                                           28   Library/Allergies/IgG-food-test (last visited June 8, 2023).
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                                                                           1    Sensitivity Test can help consumers “[l]earn [their] reactivity to 96 foods that may be
                                                                           2    causing discomfort,”2 that its IgG Food Sensitivity Comprehensive Test can test “IgG
                                                                           3    [r]eactivity to 204 [f]oods,”3 and that “higher than normal IgG reactivity level can
                                                                           4    mean that there’s a possibility that food can be giving you symptoms,” such as
                                                                           5    “headaches,” “gastrointestinal distress,” “bloating,” “indigestion,” and “stomach or
                                                                           6    abdominal pain” (the “Challenged Representations”). 4
                                                                           7         4.     The Challenged Representations have led Plaintiffs and other reasonable
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                                                                           8    consumers to erroneously believe that the Product can identify food sensitivities when
                                                                           9    it cannot. Consequently, consumers are misled into avoiding certain foods
                                                                           10   unnecessarily, potentially leading to nutritional deficiencies.
                                                                           11        5.     The Product cannot test food sensitivities as advertised because it checks
                                                                           12   for IgG antibodies which, at most, only indicates to a consumer that they ate certain
                                                                           13   food recently. Defendant knows this, and yet still markets its Product as a “Food
                                                                           14   Sensitivity Test” which determines “reactivity” to foods. This deceives consumers
                                                                           15   into believing that this test can determine which foods a consumer will react to, i.e.,
                                                                           16   Defendant’s marketing deceptively indicates to consumers that the Product will
                                                                           17   identify foods they may be sensitive to, despite the fact that IgG markers do not
                                                                           18   identify sensitivities. Instead, the appropriate method to assess food sensitivity, which
                                                                           19   includes intolerance or allergy, requires a physician or allergist to review a patient’s
                                                                           20   comprehensive medical history before deciding whether to administer tests for
                                                                           21   Immunoglobulin E (IgE) or Immunoglobulin A (IgA) antibodies, not IgG.
                                                                           22        6.     Through a pervasive statewide and nationwide marketing scheme of false,
                                                                           23   misleading, and deceptive claims and promises, as well as omission of information
                                                                           24   material to consumers’ purchasing decisions, Defendant exploits consumers’ desires
                                                                           25   2
                                                                                  Learn Your Reactivity to 96 Foods that May Be Causing You Discomfort,
                                                                                EVERLYWELL, https://www.everlywell.com/products/food-sensitivity/ (last visited
                                                                           26   June 8, 2023).
                                                                                3
                                                                                  Try Our Most Extensive Food Sensitivity Test, EVERLYWELL,
                                                                           27   https://www.everlywell.com/products/food-sensitivity-comprehensive-test/ (last
                                                                                visited June 8, 2023).
                                                                           28   4
                                                                                  Id.
                                                                                                                         -2-
                                                                                                          CLASS ACTION COMPLAINT
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                                                                           1    for valuable health insights, while consumers merely receive a reflection of what they
                                                                           2    consumed. Defendant realizes a financial windfall by advertising that the Product can
                                                                           3    test for food sensitivity when it cannot. Defendant has benefitted at the expense of
                                                                           4    unwitting consumers, as well as Defendant’s lawfully acting competitors over whom
                                                                           5    Defendant maintains an unfair competitive advantage.
                                                                           6         7.     In addition to selling an ineffective Product, Defendant retains the right
                                                                           7    to sell and use private consumer data, including all information Defendant collects
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                                                                           8    and extracts from the blood samples mailed by consumers. When consumers submit
                                                                           9    blood samples to test for “food sensitivities,” they are entrusting Defendant with
                                                                           10   intimate, material data that could be exploited if not handled with the utmost care.
                                                                           11   Companies offering these tests, such as Defendant, often maintain comprehensive
                                                                           12   databases of customer information, including personal identifiers and biological data
                                                                           13   gleaned from blood samples. 5 This collection of sensitive data not only exposes
                                                                           14   customers to potential breaches of privacy but also raises ethical questions about the
                                                                           15   use of such information for commercial purposes without explicit, informed consent.
                                                                           16        8.     Plaintiffs bring this class action complaint for two primary objectives.
                                                                           17   First, Plaintiffs seek injunctive relief to stop Defendant’s unlawful marketing of the
                                                                           18   Product, while compelling it to clearly disclose how it collects, uses, and shares
                                                                           19   consumers’ personal data. Second, Plaintiffs seek on behalf of themselves and other
                                                                           20   similarly situated consumers, a monetary recovery of the price premium consumers
                                                                           21   overpaid for the Product, as consistent with permissible law (including, for example,
                                                                           22   damages, restitution, disgorgement, and any applicable penalties/punitive damages
                                                                           23   solely to the extent that those causes of action permit).
                                                                           24   5
                                                                                  For example, companies collecting DNA samples often store their customers’ DNA,
                                                                                and even offer this DNA to third parties, including law enforcement. See What
                                                                           25   Ancestry DNA Taught Me About DNA, Privacy, and the Complex World of Genetic
                                                                                Testing, CNET (Mar. 22, 2019), https://www.cnet.com/science/ancestrydna-taught-
                                                                           26   me-about-my-dna-privacy-and-the-complex-world-of-genetic-testing/
                                                                                (“FamilyTreeDNA, another huge provider of at-home DNA kits, had given the FBI
                                                                           27   access to its database of over a million profiles. However, FamilyTree didn't notify
                                                                                users that their genetic information might be used this way before giving the FBI
                                                                           28   access.”).
                                                                                                                         -3-
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                                                                           1                                          PARTIES
                                                                           2         9.      Plaintiff Benjamin Spiro alleges the following based on personal
                                                                           3    knowledge: (1) Plaintiff is a resident of Los Angeles, California. (2) Plaintiff
                                                                           4    purchased one IgG Food Sensitivity Comprehensive Test from Defendant’s website,
                                                                           5    http://www.everlywell.com, for approximately $155.40 on or around January 1, 2022.
                                                                           6    (3) In making his purchase, Plaintiff relied on the Challenged Representations on the
                                                                           7    Product’s label and website, and so he believed the Product could accurately test for
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                                                                           8    food sensitivities. (4) Plaintiff did not notice any statements on Defendant’s website
                                                                           9    or the Product’s label that contradicted the Challenged Representations. (5) At the
                                                                           10   time of purchase, Plaintiff did not know that the Product did not actually test for food
                                                                           11   sensitivities. (6) Plaintiff would not have purchased the Product, or alternatively
                                                                           12   would not have paid a premium for it, had Defendant not made the misrepresentations
                                                                           13   and omissions set forth herein. Nor would Plaintiff have submitted his private
                                                                           14   consumer data, or alternatively would have only submitted it under limited, restricted
                                                                           15   conditions. (7) Plaintiff continues to see the Product available for sale and wants to
                                                                           16   purchase the Product again if he can be sure the Product tests for food sensitivities.
                                                                           17   (8) Plaintiff is not personally familiar with, nor does he possess any specialized
                                                                           18   knowledge, experience, or education about testing for food sensitivities, so he cannot
                                                                           19   determine if the Product functions as advertised. Accordingly, Plaintiff is at risk of
                                                                           20   reasonably, but incorrectly, assuming that the Product actually tests for food
                                                                           21   sensitivities. (9) Plaintiff is, and continues to be, unable to rely on Defendant’s
                                                                           22   representations about whether the Product can deliver accurate results about food
                                                                           23   sensitivities.
                                                                           24        10.     Plaintiff Leah Spiro alleges the following based on personal knowledge:
                                                                           25   (1) Plaintiff is a resident of Los Angeles, California. (2) Plaintiff purchased one IgG
                                                                           26   Food       Sensitivity   Comprehensive         Test   from    Defendant’s      website,
                                                                           27   http://www.everlywell.com, for approximately $155.40 on or around January 1, 2022.
                                                                           28   (3) In making her purchase, Plaintiff relied on the Challenged Representations on the
                                                                                                                         -4-
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                                                                           1    Product’s label and website, and so she believed the Product could accurately test for
                                                                           2    food sensitivities. (4) Plaintiff did not notice any statements on Defendant’s website
                                                                           3    or the Product’s label that contradicted the Challenged Representations. (5) At the
                                                                           4    time of purchase, Plaintiff did not know that the Product did not actually test for food
                                                                           5    sensitivities. (6) Plaintiff would not have purchased the Product, or alternatively
                                                                           6    would not have paid a premium for it, had Defendant not made the misrepresentations
                                                                           7    and omissions set forth herein. Nor would Plaintiff have submitted her private
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                                                                           8    consumer data, or alternatively would have only submitted it under limited, restricted
                                                                           9    conditions. (7) Plaintiff continues to see the Product available for sale and wants to
                                                                           10   purchase the Product again if she can be sure the Product tests for food sensitivities.
                                                                           11   (8) Plaintiff is not personally familiar with, nor does she possess any specialized
                                                                           12   knowledge, experience, or education about testing for food sensitivities, so she cannot
                                                                           13   determine if the Product functions as advertised. Accordingly, Plaintiff is at risk of
                                                                           14   reasonably, but incorrectly, assuming that the Product actually tests for food
                                                                           15   sensitivities. (9) Plaintiff is, and continues to be, unable to rely on Defendant’s
                                                                           16   representations about whether the Product can deliver accurate results about food
                                                                           17   sensitivities.
                                                                           18        11.     Plaintiff Stephanie Rebecca Andrecs alleges the following based on her
                                                                           19   personal knowledge: (1) Plaintiff is a resident of Santa Monica, California. (2)
                                                                           20   Plaintiff purchased one IgG Food Sensitivity Comprehensive Test from Defendant’s
                                                                           21   website, http://www.everlywell.com, for $181.30 on or around March 8, 2021. (3) In
                                                                           22   making her purchase, Plaintiff relied on the Challenged Representations on the
                                                                           23   Product’s label and website, and so she believed the Product could accurately test for
                                                                           24   food sensitivities. (4) Plaintiff did not notice any statements on Defendant’s website
                                                                           25   or the Product’s label that contradicted the Challenged Representations. (5) At the
                                                                           26   time of purchase, Plaintiff did not know that the Product did not actually test for food
                                                                           27   sensitivities. (6) Plaintiff would not have purchased the Product, or alternatively
                                                                           28   would not have paid a premium for it, had Defendant not made the misrepresentations
                                                                                                                         -5-
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                                                                           1    and omissions set forth herein. Nor would Plaintiff have submitted her private
                                                                           2    consumer data, or alternatively would have only submitted it under limited, restricted
                                                                           3    conditions. (7) Plaintiff continues to see the Product available for sale and wants to
                                                                           4    purchase the Product again if she can be sure the Product tests for food sensitivities.
                                                                           5    (8) Plaintiff is not personally familiar with, nor does she possess any specialized
                                                                           6    knowledge, experience, or education about testing for food sensitivities, and as such
                                                                           7    cannot determine if the Product functions as advertised. Accordingly, Plaintiff is at
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                                                                           8    risk of reasonably, but incorrectly, assuming that the Product actually tests for food
                                                                           9    sensitivities. (9) Plaintiff is, and continues to be, unable to rely on Defendant’s
                                                                           10   representations about whether the Product can deliver accurate results about food
                                                                           11   sensitivities.
                                                                           12        12.     Defendant Everlywell, Inc. is a corporation headquartered in the state of
                                                                           13   Texas where it also maintains its principal place of business. Defendant was doing
                                                                           14   business in the state of California at all relevant times, including the Class Period.
                                                                           15   Defendant is one of the owners, manufacturers, marketers, and/or distributors of the
                                                                           16   Product, and is one of the companies that created, authorized, and controlled the use
                                                                           17   of the Challenged Representations to market the Product. Defendant and its agents
                                                                           18   promoted, marketed, and sold the Product throughout the United States and, in
                                                                           19   particular, within this judicial district. The unfair, unlawful, deceptive, and misleading
                                                                           20   Challenged Representations on the Product were prepared, authorized, ratified, and/or
                                                                           21   approved by Defendant and its agents, and were disseminated throughout the United
                                                                           22   States by Defendant and its agents to deceive and mislead consumers into purchasing
                                                                           23   the Product.
                                                                           24        13.     Defendant also controls and manages sensitive consumer information.
                                                                           25   Among other things, Defendant collects, stores, processes, and disseminates
                                                                           26   consumer data, which it gathers through various channels such as online purchases,
                                                                           27   user account registrations, marketing opt-ins, and blood samples. Defendant exercises
                                                                           28   a high degree of control over this data, employing it not only for transactional
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                                                                           1    purposes but also for targeted marketing and advertising strategies. Defendant’s
                                                                           2    handling of consumer information is key to its business operations and its methods of
                                                                           3    promoting and selling products.
                                                                           4                              JURISDICTION AND VENUE
                                                                           5         14.    This Court has original jurisdiction over this action pursuant to the Class
                                                                           6    Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class
                                                                           7    consists of 100 or more members; the amount in controversy exceeds $5,000,000,
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                                                                           8    exclusive of costs and interest; and minimal diversity exists. This Court also has
                                                                           9    supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
                                                                           10        15.    Defendant is subject to personal jurisdiction in California based upon
                                                                           11   sufficient minimum contacts which exist between Defendant and California.
                                                                           12   Defendant is authorized to do and is doing business in California, and Defendant
                                                                           13   advertises and solicits business in California. Defendant has purposefully availed
                                                                           14   itself to the protections of California law and should reasonably expect to be hauled
                                                                           15   into court in California for harm arising out of its pervasive contacts with California.
                                                                           16        16.    Venue is proper in this District under 28 U.S.C. § 1391 because a
                                                                           17   substantial part of the events and omissions giving rise to Plaintiffs’ claims occurred
                                                                           18   in this District. In addition, one or more Plaintiffs purchased the unlawful Product in
                                                                           19   this District, and Defendant has marketed, advertised, and sold the Product within this
                                                                           20   District using the Challenged Representations.
                                                                           21                              FACTUAL ALLEGATIONS
                                                                           22        A.     Overview of “Food Sensitivity”
                                                                           23        17.    What is “Food Sensitivity?” The term “food sensitivity” has no standard
                                                                           24   medical definition and is often used as an umbrella term to encompass various
                                                                           25   reactions to food, including “food allergies” and “food intolerances.” “Food
                                                                           26   intolerances” are driven by the body’s inability to properly digest or process certain
                                                                           27   foods, and the symptoms are generally less severe and normally limited to digestive
                                                                           28
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                                                                           1    problems. 6 In contrast, “food allergies” are typically characterized by immune system
                                                                           2    responses to specific food proteins, which can trigger mild to severe or even life-
                                                                           3    threatening symptoms.7As explained infra, Plaintiffs and other reasonable consumers
                                                                           4    expected the Product labeled and advertised as a “Food Sensitivity” test to inform
                                                                           5    them of their food sensitivities, which includes food allergies and intolerances.
                                                                           6         18.    “Food allergies” are a manifestation of the immune system’s overreaction
                                                                           7    to certain food substances, which can be characterized into four types of
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                                                                           8    hypersensitivity reactions. Each of these reactions involves different mechanisms,
                                                                           9    results in diverse symptoms, and is mediated by different components of the immune
                                                                           10   system. Of these, IgE-mediated reactions (e.g., the paradigmatic peanut allergy) are
                                                                           11   the most common. Only IgE, not its fellow immune antibodies IgA or IgG, which
                                                                           12   Defendant’s Product measures, is a reliable indicator of food allergies. 8 IgE-mediated
                                                                           13   reactions result when an individual’s immune system, upon exposure to a particular
                                                                           14   food, falsely classifies the food as harmful and starts producing IgE immune
                                                                           15   antibodies to protect against future exposure.9
                                                                           16        19.    “Food intolerances”—a nonimmunologic response—is usually isolated to
                                                                           17   the gastrointestinal tract, occurring when an individual’s digestive system is unable
                                                                           18   to properly break down the food.10 Immune antibody tests, including Defendant’s IgG
                                                                           19   tests, cannot detect food intolerances. Food intolerance is rarely life-threatening but
                                                                           20   can be quite uncomfortable, with the severity of discomfort depending on how much
                                                                           21   of the food is consumed. People can often eat small amounts of the food without it
                                                                           22
                                                                                6
                                                                                  James T C Li, M.D., Ph.D., Food allergy vs. food intolerance: What’s the
                                                                           23   difference? https://www.mayoclinic.org/diseases-conditions/food-allergy/expert-
                                                                                answers/food-allergy/faq-20058538 (last visited June 8, 2023).
                                                                           24   7
                                                                                  Id.
                                                                                8
                                                                                  Katheryn Birch, Allergy Testing, STATPEARLS (July 25, 2022),
                                                                           25   https://www.ncbi.nlm.nih.gov/books/NBK537020/.
                                                                                9
                                                                                  Food Allergy Research & Education (FARE), Diagnosis of Food Allergies,
                                                                           26   YOUTUBE (Feb. 22, 2023),
                                                                                https://www.youtube.com/watch?v=Yzaee2f8eXA&t=374s.
                                                                           27   10
                                                                                   Food Intolerance vs. Food Allergy, AM. ACAD. OF ALLERGY ASTHMA &
                                                                                IMMUNOLOGY (Sept. 28 2020), https://www.aaaai.org/tools-for-the-
                                                                           28   public/conditions-library/allergies/food-intolerance.
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                                                                           1    causing problems, which is categorically untrue of a food allergy. 11 Root causes of
                                                                           2    food intolerance include enzyme deficiencies, sensitivity to food additives, or
                                                                           3    reactions to naturally occurring chemicals in foods.12
                                                                           4               20.   Reasonable Consumers’ Perception of “Food Sensitivity” Testing. As
                                                                           5    stated above, “food sensitivity” is not an official medical diagnosis. Average
                                                                           6    consumers without a medical background understand the phrase to mean an
                                                                           7    intolerance to a food, or chronic, adverse reaction to a food, such as gastrointestinal
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                                                                           8    distress, rashes, migraines, inflammation, or a worsening of another underlying
                                                                           9    condition. Defendant takes advantage of this understanding held by reasonable
                                                                           10   consumers by advertising the Product as a “Food Sensitivity Test” that can determine
                                                                           11   “reactivity” to certain foods. This is false and misleading because Defendant’s
                                                                           12   Product cannot determine if any given food is the actual or likely cause of any adverse
                                                                           13   reactions, such as food allergies or food intolerances. Instead, the Product merely
                                                                           14   measures the level of IgG antibodies in the blood, which are specific to the antigen
                                                                           15   (or food) that induced their production. In other words, the presence of IgG antibodies
                                                                           16   indicates that an individual’s body has been exposed to a certain food and has
                                                                           17   mounted an immune response to it.
                                                                           18              B.    Defendant’s False and Misleading Product Representations
                                                                           19              21.   Challenged Representations on the Product’s Label. Defendant falsely
                                                                           20   and misleadingly labels the Product with the Challenged Representation: “[l]earn
                                                                           21   your reactivity to 96 [or 204] common foods that may be causing discomfort.” This
                                                                           22   Challenged Representation is conspicuous and prominently placed on the front of the
                                                                           23   Product’s packaging. The front primary display contains scant imagery and
                                                                           24   information about the Product, largely limited to the brand name (e.g., Everlywell)
                                                                           25   and type of test (e.g., Food Sensitivity Test). To draw the consumers’ attention, the
                                                                           26   Challenged Representation is written directly under the type of test in clear, legible,
                                                                           27
                                                                                11
                                                                                     Id.
                                                                           28   12
                                                                                     Id.
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                                                                           1    and highly visible green font, all of which starkly contrasts from the packaging’s
                                                                           2    white background. The net-effect or net-impression on consumers is that the Product
                                                                           3    will identify whether the subject has a “food sensitivity” to any of the 96 or 204 tested
                                                                           4    foods. A fair and accurate depiction of the Product’s labels and packaging are depicted
                                                                           5    in the Figures below.
                                                                           6    Figure 1. Food Sensitivity Test Packaging (Front).
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                                                                           1    Figure 2. Food Sensitivity Test Packaging (Back).
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                                                                           16   Figure 3. Food Sensitivity Comprehensive Test Packaging (Front).
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                                                                           1    Figure 4. Food Sensitivity Comprehensive Test Packaging (Back).
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                                                                           13        22.    Defendant’s Marketing. Defendant deliberately designed and executed
                                                                           14   a marketing campaign to identify the Product as a “food sensitivity test.” The net
                                                                           15   impression of Defendant’s label and advertising is that the Product is a “food
                                                                           16   sensitivity test” that can help consumers “[l]earn [their] reactivity to 96 [or 204]
                                                                           17   common foods that may be causing discomfort,” and other symptoms. Defendant
                                                                           18   advertises its testing of “IgG reactivity to 96 [or 204] foods,” emphasizing that it tests
                                                                           19   a “larger variety of foods.” The Challenged Representations appear on the Product’s
                                                                           20   packaging and Defendant’s website, as well as Defendant’s social media accounts.
                                                                           21         23.   Defendant’s Website. As depicted below, Defendant’s website
                                                                           22   emphasizes that the Product allows consumers to “[l]earn [their] reactivity to 96 [or
                                                                           23   204] foods that may be causing discomfort” in clear, legible, and highly visible green
                                                                           24   font. Defendant’s website further claims that a “higher than normal IgG reactivity
                                                                           25   level can mean that there’s a possibility that food can be giving you symptoms,” such
                                                                           26   as “headaches,” “gastrointestinal distress,” “bloating,” “indigestion,” and “stomach
                                                                           27   or abdominal pain.” In addition, Defendant claims the Product is “Physician
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                                                                           1    reviewed” and CLIA-certified (Clinical Laboratory Improvement Amendments).13
                                                                           2    Figure 5. Product Advertising on Defendant’s Website.
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                                                                                Figure 6. Product Advertising on Defendant’s Website.
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                                                                                  Learn Your Reactivity to 96 Foods that May Be Causing You Discomfort,
                                                                                EVERLYWELL, https://www.everlywell.com/products/food-sensitivity/ (last visited
                                                                           28   June 8, 2023).
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                                                                           2    Figure 7. Defendant’s Description of Food Sensitivity Test on its Website.
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                                                                                Figure 8. Defendant’s Description of Food Sensitivity Comprehensive Test on its
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                                                                                Website.
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                                                                           1    Figure 9. Defendant’s CLIA-Certified Label on Defendant’s Website.
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                                                                           5    Figure 10. Related Symptoms of Food Sensitivity Identified on Defendant's Website
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                                                                           11         24.   Social Media Representations. Defendant continually uses deceptive
                                                                           12   labeling and marketing techniques to falsely portray its Product’s purported abilities
                                                                           13   and benefits, taking advantage of social media platforms. For example:
                                                                           14           a. Twitter. As depicted below, Defendant regularly creates public posts,
                                                                           15               including consumer testimonials, to advertise and promote its Product on
                                                                           16               its official Twitter page as a “Food Sensitivity Test,” while omitting the
                                                                           17               fact that the Product cannot detect nonimmunologic food reactivity.14
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                                                                                  See @Everlywell, TWITTER, https://twitter.com/everly_well (last visited June 8,
                                                                           28   2023).
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                                                                           1    Figure 11. Defendant’s Public Post on Twitter No. 1.
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                                                                                Figure 12. Defendant’s Public Post on Twitter No. 2.
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                                                                                Figure 13. Customer Testimonial Posted by Defendant No. 1.
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                                                                           10   Figure 14. Customer Testimonial Posted by Defendant No. 2.
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                                                                           1            b. Instagram. Defendant also leverages its Instagram platform to market the
                                                                           2               Product as a “Food Sensitivity Test,” conveniently omitting that its IgG
                                                                           3               tests are incapable of detecting nonimmunologic food reactivity.
                                                                           4               Defendant’s Product may detect higher levels of IgG antibodies not
                                                                           5               because a consumer is allergic to that food, but rather because their
                                                                           6               immune system has built a tolerance to it due to repeated exposure (i.e., a
                                                                           7               consumer frequently eats the food). Such tolerance does not indicate an
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                                                                           8               allergy, but rather indicates the body is simply exposed to that particular
                                                                           9               food.15 Defendant’s Product has no way of detecting or analyzing whether
                                                                           10              the heightened IgG levels stem from an adverse food sensitivity.
                                                                           11   Figure 15. Screenshot of Defendant’s Public Post on Instagram.
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                                                                           23        25.   The Product Cannot Deliver the Advertised Benefits. Defendant’s
                                                                           24   Product tests for immune antibody IgG levels, which cannot detect “food allergies”
                                                                           25   nor “food sensitivities.” Defendant claims that testing for IgG levels in response to
                                                                           26   “96 [or 204] common foods” tests for “food sensitivity” by claiming that a “higher
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                                                                                15
                                                                                  See @everlywell, INSTAGRAM, https://www.instagram.com/everlywell/ (last visited
                                                                           28   June 8, 2023).
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                                                                           1    than normal IgG reactivity level can mean that there’s a possibility that food can be
                                                                           2    giving you symptoms, such as “headaches,” “gastrointestinal distress,” “bloating,”
                                                                                                                                         16
                                                                           3    “indigestion,” and “stomach or abdominal pain.”               Contrary to Defendant’s
                                                                           4    advertising scheme, heightened levels of IgG are not indicative of sensitivity to
                                                                           5    certain foods; instead, they merely reflect the test subject’s frequently eaten foods.17
                                                                           6    IgE, not IgG, is the only reliable indicator of food allergies.18 Research has shown
                                                                           7    that IgG levels actually increase as the severity of an allergy (measured by IgE levels)
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                                                                           8    decreases. 19 Further, immune antibody tests, including Defendant’s IgG tests, cannot
                                                                           9    detect nonimmunologic food intolerances, yet the symptoms that Defendant’s Product
                                                                           10   is marketed to alleviate are commonly associated with food intolerance.
                                                                           11        26.    The Scientific Community Has Universally Rejected IgG Testing for
                                                                           12   Food Sensitivities. In late 2022, Defendant published a response to allegations that
                                                                           13   its advertising of the Product is deceptive in a New York Times article titled Is Food
                                                                           14   Sensitivity a Scam? The response is not persuasive. Defendant pointed to studies
                                                                           15   where researchers found that eliminating high-IgG foods reduces symptoms like
                                                                           16   abdominal pain and bloating, but these cited studies were small and “lacked proper
                                                                           17   control groups.”20 In actuality, both the American Academy of Allergy, Asthma &
                                                                           18   Immunology (AAAAI), which is a leading membership organization of
                                                                           19   allergists/immunologists with more than 7,000 members in the United States, Canada,
                                                                           20   and 72 other countries, and the Canadian Society of Allergy and Clinical Immunology
                                                                           21

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                                                                           23   16
                                                                                   Learn Your Reactivity to 96 Foods That May be Causing You Discomfort,
                                                                                EVERLYWELL, https://www.everlywell.com/products/food-sensitivity/ (last visited
                                                                           24   June 8, 2023).
                                                                                17
                                                                                   Id.
                                                                           25   18
                                                                                   Katheryn Birch, Allergy Testing, STATPEARLS (July 25, 2022),
                                                                                https://www.ncbi.nlm.nih.gov/books/NBK537020/.
                                                                           26   19
                                                                                   Vanessa Milne et al., IgG tests promise to reveal food sensitivities. But are they
                                                                                science or science-ish?, HEALTHYDEBATE (Jan. 6, 2017),
                                                                           27   https://healthydebate.ca/2017/01/topic/igg-tests-science/.
                                                                                20
                                                                                   Alice Callahan, Is Food Sensitivity Testing a Scam?, N.Y. TIMES (Sep. 21, 2022),
                                                                           28   https://www.nytimes.com/2022/09/13/well/eat/food-sensitivity-test.html.
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                                                                           1    (CSACI) have condemned IgG testing.21 According to the AAAAI website:
                                                                           2
                                                                                            The scientific studies that are provided to support the use of this
                                                                           3                test are often out of date, in non-reputable journals and many have
                                                                                            not even used the IgG test in question. The presence of IgG is
                                                                           4
                                                                                            likely a normal response of the immune system to exposure to
                                                                           5                food. In fact, higher levels of IgG to foods may simply be
                                                                                            associated with tolerance to those foods.22
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                                                                           7    The CSACI position echoes the same sentiment, adding, “the inappropriate use of this
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                                                                           8    test only increases the likelihood of false diagnoses being made, resulting in
                                                                           9    unnecessary dietary restrictions and decreased quality of life.”23 Thus, Defendant’s
                                                                           10   Product cannot deliver on its label and advertising claims. Testing for IgG immune
                                                                           11   antibodies, as the Product advertises, does not accomplish the Product’s stated goals,
                                                                           12   and overall cannot test for food sensitivities (whether food intolerance or allergies).
                                                                           13        C.     In Addition to its False and Misleading Product Claims, Defendant
                                                                           14               Also Profits from the Collection and Use of Consumers’ Personal
                                                                           15               Data
                                                                           16        27.    When consumers like Plaintiffs purchase the Product, they not only end
                                                                           17   up wasting their money on a test kit that offers no value but also do not know the
                                                                           18   extensive collection and misuse of private information.
                                                                           19

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                                                                                   See The Myth of IgG Food Panel Testing, AM. ACAD. OF ALLERGY, ASTHMA &
                                                                                IMMUNOLOGY, https://www.aaaai.org/tools-for-the-public/conditions-
                                                                           22   library/allergies/igg-food-test (last visited June 8, 2023); AAAAI support of the
                                                                                EAACI Position Paper on IgG4, AM. ACAD. OF ALLERGY, ASTHMA & IMMUNOLOGY
                                                                           23   (May 2010), https://www.aaaai.org/Aaaai/media/Media-Library-
                                                                                PDFs/Tools%20for%20the%20Public/Conditions%20Library/Library%20-
                                                                           24   %20Allergies/eacci-igg4-2010.pdf; Stuart Carr et al., CSACI Position statement on
                                                                                the testing of food-specific IgG, 8 ALLERGY, ASTHMA, & CLINICAL IMMUNOLOGY
                                                                           25   (Jul. 26, 2012), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3443017/.
                                                                                22
                                                                                   The Myth of IgG Food Panel Testing, AM. ACAD. OF ALLERGY, ASTHMA &
                                                                           26   IMMUNOLOGY, https://www.aaaai.org/tools-for-the-public/conditions-
                                                                                library/allergies/igg-food-test (last visited June 8, 2023) (emphasis added).
                                                                           27   23
                                                                                   Stuart Carr et al., CSACI Position statement on the testing of food-specific IgG, 8
                                                                                ALLERGY, ASTHMA, & CLINICAL IMMUNOLOGY (Jul. 26, 2012),
                                                                           28   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3443017/.
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                                                                           1         28.     Defendant gathers the following information 24:
                                                                           2            a. Legal name, postal address, unique personal identifier, online identifiers,
                                                                           3                 Internet protocol address, signature, email address, phone number,
                                                                           4                 account name or other similar identifiers;
                                                                           5            b. Financial information – such as credit card, debit card or other payment
                                                                           6                 data;
                                                                           7            c. Commercial information – including products purchased (or even
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                                                                           8                 considered, but not purchased), as well as other purchasing
                                                                           9                 trends/tendencies;
                                                                           10           d. All available internet activity – including browsing history, search
                                                                           11                history, electronic network information, response to advertisements/form
                                                                           12                submissions, all available engagement data for the individual purchasers
                                                                           13                or nonpurchases/visitors of Defendant’s websites;
                                                                           14           e. Geolocation data;
                                                                           15           f. All available professional/employment information;
                                                                           16           g. Inferences drawn from individuals’ profiles, including but not limited to
                                                                           17                consumers’        preferences,      characteristics,   psychological   trends,
                                                                           18                predispositions, behavior, attitudes, intelligence abilities, and aptitudes;
                                                                           19           h. Driver’s license number, citizenship status, immigration status, race,
                                                                           20                national origin, sexual orientation, sex life, precise geolocation,
                                                                           21                information concerning one’s health, their genetic information;
                                                                           22           i. Personally identifiable health information, medical information, and
                                                                           23                health records.
                                                                           24        29.     However, as fully explained below, Defendant does not apprise its
                                                                           25   customers of the vast amount of data it collects on each unsuspecting individual
                                                                           26   purchaser.
                                                                           27
                                                                                24
                                                                                  Privacy Notice, EVERLYWELL, https://www.everlywell.com/privacy-policy/ (last
                                                                           28   visited June 8, 2023).
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                                                                           1          30.   Even more troubling, Defendant shares this highly sensitive consumer
                                                                           2    data with numerous other entities – service providers, marketing and promotional
                                                                           3    partners, affiliates, Meta Platforms, external and internal clients, business partners,
                                                                           4    and many other unauthorized third party entities.
                                                                           5          31.   Undoubtedly, Defendant also acquires tremendous data from the blood
                                                                           6    samples of consumers. Upon information and belief, this highly sensitive and valuable
                                                                           7    information may be sold by Defendant to pharmaceutical companies or other so-
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                                                                           8    called “partners” to profit from consumers’ private and sensitive information.
                                                                           9          32.   Defendant does not disclose the extent of its data collection and misuse
                                                                           10   in a clear and conspicuous manner to consumers. Instead, Defendant surreptitiously
                                                                           11   hides this information, and also fails to disclose the full extent of the uses of one’s
                                                                           12   personal data.
                                                                           13         33.   Defendant Failed to Present Its Privacy Policy in a Clear and
                                                                           14   Conspicuous Manner. Defendant’s Privacy Policy is not prominently displayed,
                                                                           15   easily accessible, or clearly visible on the main pages of its website. Instead, users are
                                                                           16   required to search extensively and navigate through multiple links to find it. This lack
                                                                           17   of visibility prevents reasonable consumers like Plaintiffs from being adequately
                                                                           18   informed about the personal information they will need to provide to Defendant to
                                                                           19   obtain the test results, and how that information will be used.
                                                                           20        34.    When consumers purchase the Product from Defendant’s website, just
                                                                           21   like Plaintiffs did, consumers are not required to click on any hyperlink or read
                                                                           22   through the Privacy Policy or Terms and Conditions as depicted further below. A
                                                                           23   purchase is made instantaneously the moment a consumer clicks “Place Order.” No
                                                                           24   additional steps are in place to prompt consumers to review and give their explicit
                                                                           25   consent to Defendant’s Privacy Policy or Terms and Conditions prior to their
                                                                           26   purchase—notwithstanding the breadth of information Defendant collects and shares
                                                                           27   with its “partners” and “marketing entities.”
                                                                           28        35.    Furthermore, the available chat features on Defendant's website, and other
                                                                                                                         -22-
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                                                                           1    distractions, hinder important pieces of information, like the link to Defendant’s
                                                                           2    Privacy Policy.
                                                                           3         36.    Following the purchase, consumers are requested to register the Product
                                                                           4    on Defendant’s website to receive their tests results. At no point are they required to
                                                                           5    agree to or even view Defendant’s Privacy Policy and Terms and Conditions.
                                                                           6    Notably, when a consumer is completing the registration process, Defendant states
                                                                           7    that the consumer is going to be subject to additional terms and conditions, viewable
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                                                                           8    only by visiting a separate webpage on the website. However, at no point in this
                                                                           9    process are consumers forced to read any terms and conditions. Consumers must
                                                                           10   merely click a box indicating their assent to the terms.
                                                                           11        37.    Moreover, Defendant uses prompts such as “Proceed to Checkout” or
                                                                           12   “Place Order” instead of any clear indication that by purchasing the Product,
                                                                           13   consumers are accepting Defendant’s terms and conditions nor agreeing to
                                                                           14   Defendant’s Privacy Policy. As such, at no point do consumers understand or agree
                                                                           15   to any inconspicuous terms or misuse of their personal information.
                                                                           16        38.    It is only after they have bought the Product that consumers may discover
                                                                           17   the extent of collection and misuse of personal data. This lack of transparency leaves
                                                                           18   consumers uninformed and deceived about the full extent of their engagement with
                                                                           19   Defendant’s Product and services.
                                                                           20        39.    Concealed Intention to Use and Sell Consumer Data. Defendant
                                                                           21   conceals its intention to use and sell consumer data from consumers. Although
                                                                           22   Defendant asserts on its website that it is “HIPAA compliant,” uses “state-of-the-art,
                                                                           23   bank-grade encryption to ensure [consumer’s] data is stored securely,” and “under no
                                                                           24   circumstance do we ever sell [consumer’s] data,” the details of its Privacy Notice—
                                                                           25   accessible only through a small, inconspicuous link at the bottom of its website—
                                                                           26   reveal multiple scenarios under which it may share consumer information with third
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                                                                           1    parties for business purposes.25 Reasonable consumers would not willingly provide a
                                                                           2    for-profit company with their private medical information and other personally
                                                                           3    identifiable details, especially when that company holds the right to utilize and sell
                                                                           4    such information for unrelated commercial purposes. This is particularly true in cases
                                                                           5    like this one where a company offers no valuable medical services or information, nor
                                                                           6    any form of payment or benefit in exchange for the consumer’s private information.
                                                                           7    Figure 16. Defendant’s Privacy Policy on its Website.26
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                                                                                   Learn your reactivity to 96 foods that may be causing discomfort, Everlywell,
                                                                           27   https://www.everlywell.com/products/food-sensitivity/ (last visited June 8, 2023).
                                                                                26
                                                                                   Privacy Notice, EVERLYWELL, https://www.everlywell.com/privacy-policy/ (last
                                                                           28   visited June 8, 2023).
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                                                                           1          40.   Moreover, Defendant’s HIPAA Notice of Privacy Practices provides that
                                                                           2    Defendant may disclose consumers’ protected health information (“PHI”), without
                                                                           3    requiring consumers’ authorization, in numerous circumstances including but not
                                                                           4    limited to “treatment, payment and healthcare operations purposes, as such terms are
                                                                           5    defined under HIPAA, or to the extent required by law.”27
                                                                           6          41.   Defendant does not disclose the abovementioned privacy terms on the
                                                                           7    front or the back of the Product package. Nor does it disclose it in its social media or
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                                                                           8    require third-party retailers to disclose it. Instead, Defendant prominently advertises
                                                                           9    that it is HIPAA compliant. As such, consumers are not put on notice that there are
                                                                           10   additional terms which govern the transaction, nor are they put on notice that
                                                                           11   Defendant will store consumer data for Defendant’s use and sale.
                                                                           12         42.   It is only after a consumer purchases Defendant's Product, in order to
                                                                           13   receive test results, that they may finally discover privacy terms. However, even then,
                                                                           14   consumers will not likely understand the true extent of harm and potential misuse of
                                                                           15   their data. This is intentional on the part of Defendant. Defendant will not accept or
                                                                           16   refund opened but unused kits, and so to the extent a consumer opens their kit,
                                                                           17   registers online, and then sees the privacy policy and feels uncomfortable about
                                                                           18   providing their personal data to Defendant, it will be too late. At that point, the best a
                                                                           19   consumer can do is dispose of the kit and simply lose their money on the transaction.
                                                                           20   There is no option for a consumer to get the results of their test without sending in
                                                                           21   their blood sample and accepting the terms that Defendant pushes upon them.
                                                                           22         43.   Inadequate Disclosure of Policies for In-Person Product Purchases.
                                                                           23   If a consumer purchased the Product from a third-party retailer or in-person, the
                                                                           24   consumer would not have access to the aforementioned Privacy Policy and HIPAA
                                                                           25   Notice of Privacy Practices until they register the Product on Defendant’s website to
                                                                           26   receive their test results—which could be days or months following the purchase.
                                                                           27
                                                                                27
                                                                                  HIPAA Notice of Privacy Practices, EVERLYWELL,
                                                                           28   https://www.everlyhealth.com/hipaa-notice/ (last visited June 8, 2023).
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                                                                           1          44.   The personal consumer data submitted by consumers to Defendant holds
                                                                           2    significant market potential. Through its misleading marketing and sale of the
                                                                           3    Product, Defendant has amassed blood samples from potentially millions of
                                                                           4    individuals. These samples can be (and are likely exploited by Defendant) for a wide
                                                                           5    array of commercial purposes. For example, these blood samples can be sold to
                                                                           6    companies for research and development purposes, to insurance companies looking
                                                                           7    to assess a person’s health, or even sold to third-party marketers or advertisers who
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                                                                           8    can then target a consumer with personalized advertisements related to health
                                                                           9    products, services, or treatments. The cost of acquiring a similar trove of information
                                                                           10   would be massive. While consumers may charitably donate to blood banks, it is
                                                                           11   unreasonable to expect that they would freely offer blood samples, linked to their
                                                                           12   private and identifiable information, to a profit-driven venture like Defendant.
                                                                           13         45.   In addition to Defendant’s usage of consumers’ personal data to develop
                                                                           14   their own products, collection of such personal data also serves as an asset Defendant
                                                                           15   now holds which can be sold to others for profit. Such data can be sold to third parties,
                                                                           16   including government agencies, for a virtually limitless number of commercial uses.
                                                                           17   Overall, Defendant’s retention of personal data is done in an exceedingly vast and
                                                                           18   overbroad manner, and no reasonable consumer is put on notice of this, and no
                                                                           19   reasonable consumer would assent to this scheme if they were made fully aware of
                                                                           20   Defendant’s practices.
                                                                           21        D.     Plaintiffs and Reasonable Consumers Were Misled by the
                                                                           22               Challenged Representations into Buying the Product, to Their
                                                                           23               Detriment, Consistent with Defendant’s Deliberate Marketing
                                                                           24               Scheme to Exact a Premium for the Falsely Advertised Product
                                                                           25         46.   Reasonable Consumer’s Perception. The Challenged Representations,
                                                                           26   combined with Defendant’s pervasive marketing campaign and brand strategy, lead
                                                                           27   reasonable consumers, like Plaintiffs, into believing the Products could help them
                                                                           28   learn about their food sensitivities.
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                                                                           1             47.   No Clear and Conspicuous Disclaimers Dispel the Deception. Nothing
                                                                           2    on the Product’s label or packaging would lead reasonable consumers to believe that
                                                                           3    the Challenged Representations are not true. That is because the Product’s label and
                                                                           4    packaging do not contain a clear, unambiguous, and conspicuously displayed
                                                                           5    statement, reasonably proximate to the Challenged Representations, that reasonable
                                                                           6    consumers are likely to notice, read, and understand to mean that the Challenged
                                                                           7    Representations are indeed false.
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                                                                           8             48.   Materiality. The Challenged Representations are material to reasonable
                                                                           9    consumers, including Plaintiffs, in deciding to buy the Product—meaning that
                                                                           10   whether the Product can deliver on advertised claims is important to consumers and
                                                                           11   motivates them to buy the Product.
                                                                           12            49.   Reliance. The Class, including Plaintiffs, reasonably relied on the
                                                                           13   Challenged Representations in deciding to purchase the Product.
                                                                           14            50.   Falsity. The Challenged Representations are false and deceptive because
                                                                           15   the Product cannot deliver on the advertised claim—meaning the Product is incapable
                                                                           16   of determining consumers’ sensitivities to certain foods; instead, they merely reflect
                                                                           17   the test subject’s frequently eaten foods. As depicted below, Defendant admitted in a
                                                                           18   public post on Twitter that the Product is not intended to “reflect food allergies,
                                                                           19   lactose intolerance, or celiac disease.” 28 However, nowhere on the package or
                                                                           20   webpage does Defendant disclose that the Product may only measure a normal
                                                                           21   biological reaction or otherwise suggest to consumers that the Product is incapable of
                                                                           22   identifying food sensitivities.
                                                                           23   ///
                                                                           24   ///
                                                                           25   ///
                                                                           26   ///
                                                                           27   ///
                                                                           28   28
                                                                                      @Everlywell, TWITTER, https://twitter.com/everly_well (last visited June 8, 2023).
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                                                                           1    Figure 17. Screenshot of Defendant’s Reply on Twitter.
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                                                                           15        51.   Consumers Lack Knowledge of Falsity. The Class, including Plaintiffs,
                                                                           16   who purchased the Product, do not know, and have no reason to know, at the time of
                                                                           17   purchase, that the Product’s Challenged Representations are false, misleading,
                                                                           18   deceptive, and unlawful—that is because the Class, including Plaintiffs, do not work
                                                                           19   for Defendant and have no personal knowledge of how food sensitivity testing works.
                                                                           20        52.   Defendant’s Knowledge. Defendant knew, or should have known, that
                                                                           21   the Challenged Representations were false, misleading, deceptive, and unlawful, at
                                                                           22   the time that Defendant manufactured, marketed, advertised, labeled, and sold the
                                                                           23   Product using the Challenged Representations to Plaintiffs and the Class.
                                                                           24           a. Knowledge of Falsity. Defendant is well aware that its Product is
                                                                           25              worthless as it fails to deliver the promised health or educational benefit
                                                                           26              and is even dangerous in that it may suggest adverse food sensitivities
                                                                           27              resulting in unhealthy diet modification. Defendant has even publicly
                                                                           28              recognized that the AAAAI recommends against using its Product to
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                                                                           1               identify food sensitivities, but Defendant remains undeterred.29
                                                                           2            b. Knowledge of Reasonable Consumers’ Perception. Defendant knew or
                                                                           3               should have known that the Challenged Representations would lead
                                                                           4               reasonable consumers into believing that the Product is able to deliver on
                                                                           5               the advertised claims. Not only has Defendant utilized a long-standing
                                                                           6               brand strategy to advertise that the Product determines and informs
                                                                           7               consumers regarding their food sensitivities to 96 or 204 foods to help
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                                                                           8               guide consumers on what types of food to prioritize, but Defendant also
                                                                           9               has an obligation under section 5 of the Federal Trade Commission Act,
                                                                           10              codified at 15 U.S.C. §§ 45, to evaluate its marketing claims from the
                                                                           11              perspective of the reasonable consumer. That means Defendant was
                                                                           12              statutorily obligated to consider whether the Challenged Representations,
                                                                           13              be it in isolation or conjunction with its marketing campaign, would
                                                                           14              mislead reasonable consumers into believing that the Product can identify
                                                                           15              consumer food sensitivities to 96 or 204 foods. Thus, Defendant either
                                                                           16              knew the Challenged Representations are misleading before it marketed
                                                                           17              the Product to the Class, including Plaintiffs, or Defendant should have
                                                                           18              known about the deception had it complied with its statutory obligations.
                                                                           19           c. Knowledge of Materiality. Defendant knew or should have known of
                                                                           20              the Challenged Representations’ materiality to consumers. First,
                                                                           21              manufacturers and marketers, like Defendant, generally reserve the front
                                                                           22              primary display panel of labels or packaging on consumer products for
                                                                           23              the most important and persuasive information, which they believe will
                                                                           24              motivate consumers to buy the products. Here, the conspicuousness of the
                                                                           25              Challenged Representations on the Product’s front labels and packaging
                                                                           26
                                                                                29
                                                                                  Shayla Love, Food Intolerance Tests Are Shoddy Science and Traps for
                                                                           27   Disordered Eating, VICE MAG., (Feb. 23, 2018),
                                                                                https://www.vice.com/en/article/43778n/food- intolerance-tests-are-shoddy-science-
                                                                           28   and-traps-for-disordered-eating.
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                                                                           1               demonstrates Defendant’s awareness of its importance to consumers and
                                                                           2               Defendant’s understanding that consumers prefer and are motivated to
                                                                           3               buy products that conform to the Challenged Representations. Second,
                                                                           4               manufacturers and marketers repeat marketing claims to emphasize and
                                                                           5               characterize a brand or product line, shaping the consumers’ expectations,
                                                                           6               because they believe those repeated messages will drive consumers to buy
                                                                           7               the Product. Here, the constant, unwavering use of the Challenged
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                                                                           8               Representations on the Product, advertisements, and throughout
                                                                           9               Defendant’s marketing campaign, evidence Defendant’s awareness that
                                                                           10              the falsely advertised Product-attribute is important to consumers. It also
                                                                           11              evidences Defendant’s intent to convince consumers that the Product
                                                                           12              conforms to the Challenged Representations and, ultimately, drive sales.
                                                                           13           d. Defendant’s Continued Deception, Despite Its Knowledge. Defendant,
                                                                           14              as the manufacturer and marketer of the Product, had exclusive control
                                                                           15              over the Challenged Representations’ inclusion on the Product’s front
                                                                           16              labels, packaging, and advertisements—i.e., Defendant readily and easily
                                                                           17              could have stopped using the Challenged Representations to sell the
                                                                           18              Product. However, despite Defendant’s knowledge of the Challenged
                                                                           19              Representations’ falsity, and Defendant’s knowledge that consumers
                                                                           20              reasonably rely on the representations in deciding to buy the Product,
                                                                           21              Defendant deliberately chose to market the Product with the Challenged
                                                                           22              Representations thereby misleading consumers into buying or overpaying
                                                                           23              for the Product. Thus, Defendant knew, or should have known, at all
                                                                           24              relevant times, that the Challenged Representations mislead reasonable
                                                                           25              consumers, such as Plaintiffs, into buying the Product to attain the
                                                                           26              benefits that Defendant falsely advertised and warranted.
                                                                           27        53.   Detriment. Plaintiffs and similarly situated consumers would not have
                                                                           28   purchased the Product, or would not have a price premium for the Product, if they had
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                                                                           1    known that the Challenged Representations were false and, therefore, the Product
                                                                           2    does not have the attribute claimed, promised, warranted, advertised, and/or
                                                                           3    represented. Nor would Plaintiffs have submitted their personal and private
                                                                           4    information, or alternatively would have only submitted it under limited, restricted
                                                                           5    conditions. Accordingly, based on Defendant’s material misrepresentations and
                                                                           6    omissions, reasonable consumers, including Plaintiffs, purchased the Product to their
                                                                           7    detriment.
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                                                                           8         E.      The Products are Substantially Similar
                                                                           9         54.     As described herein, Plaintiffs purchased Defendant’s Food Sensitivity
                                                                           10   Comprehensive Test. The additional Product, the Food Sensitivity Test, is
                                                                           11   substantially similar to the purchased Product for the following reasons:
                                                                           12             a. Defendant. All Products are manufactured, sold, marketed, advertised,
                                                                           13                labeled, and packaged by Defendant.
                                                                           14             b. Brand. All Products are sold under the same brand name: Everlywell.
                                                                           15             c. Purpose. All Products allegedly test and inform consumers of their food
                                                                           16                sensitivities as to certain foods.
                                                                           17             d. Marketing Demographics. All Products are marketed directly to
                                                                           18                consumers for personal use. In particular, the Products are manufactured
                                                                           19                as testing kits to collect blood samples and provide results about the
                                                                           20                reactivity to certain foods.
                                                                           21             e. Challenged Misrepresentation. All Products contain the same
                                                                           22                Challenged Representation (“[l]earn your reactivity to 96 [or 204]
                                                                           23                common foods that may be causing discomfort”) conspicuously and
                                                                           24                prominently placed on the primary display panel of the front label,
                                                                           25                packaging and website.
                                                                           26             f. Packaging. All Products are packaged in similar packaging—using
                                                                           27                similar color schemes for written content. The Products largely share the
                                                                           28                same marketing claims written on the box, including brand identity
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                                                                           1                (Everlywell), description (“Food Sensitivity Test”), and a few product
                                                                           2                features (e.g., the Products include the same materials within the box, and
                                                                           3                have the same logo, font, and design on the packaging).
                                                                           4              g. Misleading Effect. The misleading effect of the Challenged
                                                                           5                Representation on consumers is the same for all Products—consumers
                                                                           6                over-pay a premium to test their food sensitivities but receive results
                                                                           7                reflecting only what they have been eating recently.
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                                                                           8         F.     No Adequate Remedy at Law
                                                                           9         55.    Plaintiffs and members of the Class are entitled to equitable relief as no
                                                                           10   adequate remedy at law exists.
                                                                           11             a. Broader Statutes of Limitations. The statutes of limitations for the
                                                                           12               causes of action pled herein vary. The limitations period is four years for
                                                                           13               claims brought under the UCL, which is one year longer than the statutes
                                                                           14               of limitation under the FAL and CLRA. In addition, the statutes of
                                                                           15               limitation vary for certain states’ laws for breach of warranty and unjust
                                                                           16               enrichment/restitution, between approximately 2 and 6 years. Thus,
                                                                           17               California Subclass members who purchased the Product more than 3
                                                                           18               years prior to the filing of the complaint will be barred from recovery if
                                                                           19               equitable relief were not permitted under the UCL. Similarly, Nationwide
                                                                           20               Class members who purchased the Product prior to the furthest reach-
                                                                           21               back under the statutes of limitation for breach of warranty, will be barred
                                                                           22               from recovery if equitable relief were not permitted for restitution/unjust
                                                                           23               enrichment.
                                                                           24             b. Broader Scope of Conduct. In addition, the scope of actionable
                                                                           25               misconduct under the unfair prong of the UCL is broader than the other
                                                                           26               causes of action asserted herein. It includes, for example, Defendant’s
                                                                           27               overall unfair marketing scheme to promote and brand the Product with
                                                                           28               the Challenged Representations, across a multitude of media platforms,
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                                                                           1              including the Product’s labels and packaging, over a long period of time,
                                                                           2              in order to gain an unfair advantage over competitor products and to take
                                                                           3              advantage of consumers’ desires for products that comport with the
                                                                           4              Challenged Representations. The UCL also creates a cause of action for
                                                                           5              violations of law (such as statutory or regulatory requirements and court
                                                                           6              orders related to similar representations and omissions made on the type
                                                                           7              of products at issue). Thus, Plaintiffs and Class members may be entitled
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                                                                           8              to restitution under the UCL, while not entitled to damages under other
                                                                           9              causes of action asserted herein (e.g., the FAL requires actual or
                                                                           10             constructive knowledge of the falsity; the CLRA is limited to certain
                                                                           11             types of plaintiffs (an individual who seeks or acquires, by purchase or
                                                                           12             lease, any goods or services for personal, family, or household purposes)
                                                                           13             and   other   statutorily   enumerated     conduct).   Similarly,   unjust
                                                                           14             enrichment/restitution is broader than breach of warranty. For example,
                                                                           15             in some states, breach of warranty may require privity of contract or pre-
                                                                           16             lawsuit notice, which are not typically required to establish unjust
                                                                           17             enrichment/restitution. Thus, Plaintiffs and Class members may be
                                                                           18             entitled to recover under unjust enrichment/restitution, while not entitled
                                                                           19             to damages under breach of warranty, because they purchased the
                                                                           20             products from third-party retailers or did not provide adequate notice of a
                                                                           21             breach prior to the commencement of this action.
                                                                           22          c. Injunctive Relief to Cease Misconduct and Dispel Misperception.
                                                                           23             Injunctive relief is appropriate on behalf of Plaintiffs and members of the
                                                                           24             Class because Defendant continues to misrepresent the Product with the
                                                                           25             Challenged Representations. Injunctive relief is necessary to prevent
                                                                           26             Defendant from continuing to engage in the unfair, fraudulent, and/or
                                                                           27             unlawful conduct described herein and to prevent future harm—none of
                                                                           28             which can be achieved through available legal remedies (such as
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                                                                           1              monetary damages to compensate past harm). Further, injunctive relief,
                                                                           2              in the form of affirmative disclosures is necessary to dispel the public
                                                                           3              misperception about the Products that has resulted from years of
                                                                           4              Defendant’s unfair, fraudulent, and unlawful marketing efforts. Such
                                                                           5              disclosures would include, but are not limited to, publicly disseminated
                                                                           6              statements that the Product’s Challenged Representations are not true and
                                                                           7              providing accurate information about the Product’s true nature; and/or
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                                                                           8              requiring prominent qualifications and/or disclaimers on the Product’s
                                                                           9              front labels concerning the Product’s true nature. An injunction requiring
                                                                           10             affirmative disclosures to dispel the public’s misperception and to prevent
                                                                           11             the ongoing deception and repeat purchases based thereon, is also not
                                                                           12             available through a legal remedy (such as monetary damages). In
                                                                           13             addition, Plaintiffs are currently unable to accurately quantify the
                                                                           14             damages caused by Defendant’s future harm, because discovery and
                                                                           15             Plaintiffs’ investigation have not been completed, rendering injunctive
                                                                           16             relief even more necessary. For example, because the Court has not yet
                                                                           17             certified any class, the following remains unknown: the scope of the class,
                                                                           18             the identities of its members, their respective purchasing practices, prices
                                                                           19             of past/future Product sales, and quantities of past/future Product sales.
                                                                           20          d. Public Injunction. Further, because a “public injunction” is available
                                                                           21             under the UCL, damages will not adequately “benefit the general public”
                                                                           22             in a manner equivalent to an injunction.
                                                                           23          e. California vs. Nationwide Class Claims. Violation of the UCL, FAL,
                                                                           24             and CLRA are claims asserted on behalf of Plaintiffs and the California
                                                                           25             Subclass against Defendant, while breach of warranty and unjust
                                                                           26             enrichment/restitution are asserted on behalf of Plaintiffs and the
                                                                           27             Nationwide Class. Dismissal of farther-reaching claims, such as
                                                                           28             restitution, would bar recovery for non-California members of the Class.
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                                                                           1                 In other words, legal remedies available or adequate under the California-
                                                                           2                 specific causes of action (such as the UCL, FAL, and CLRA) have no
                                                                           3                 impact on this Court’s jurisdiction to award equitable relief under the
                                                                           4                 remaining causes of action asserted on behalf of non-California putative
                                                                           5                 class members.
                                                                           6               f. Procedural Posture—Incomplete Discovery & Pre-Certification.
                                                                           7                 Lastly, this is an initial pleading in this action and discovery has not yet
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                                                                           8                 commenced and/or is at its initial stages. No class has been certified yet.
                                                                           9                 No expert discovery has commenced and/or completed. The completion
                                                                           10                of fact/non-expert and expert discovery, as well as the certification of this
                                                                           11                case as a class action, are necessary to finalize and determine the
                                                                           12                adequacy and availability of all remedies, including legal and equitable,
                                                                           13                for Plaintiffs’ individual claims and any certified class or subclass.
                                                                           14                Plaintiffs therefore reserve their right to amend this complaint and/or
                                                                           15                assert additional facts that demonstrate this Court’s jurisdiction to order
                                                                           16                equitable remedies where no adequate legal remedies are available for
                                                                           17                either Plaintiffs and/or any certified class or subclass. Such proof, to the
                                                                           18                extent necessary, will be presented prior to the trial of any equitable
                                                                           19                claims for relief and/or the entry of an order granting equitable relief.
                                                                           20                            CLASS ACTION ALLEGATIONS
                                                                           21        56.     Class Definition. Plaintiffs bring this action pursuant to Federal Rule of
                                                                           22   Civil Procedure 23 on behalf of themselves and as members of the Classes defined as
                                                                           23   follows:
                                                                           24                Nationwide Class. All residents of the United States who, within
                                                                                             the applicable statute of limitations periods, purchased the
                                                                           25                Product, containing the Challenged Representations, for
                                                                                             purposes other than resale; and
                                                                           26
                                                                                             California Subclass. All residents of California who, within
                                                                           27                four years prior to the filing of this Complaint, purchased the
                                                                                             Product, containing the Challenged Representations, for
                                                                           28                purposes other than resale.
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                                                                           1
                                                                                            (“Nationwide Class” and “California Subclass,” collectively,
                                                                           2
                                                                                            “Class”).
                                                                           3
                                                                                     57.    Class Definition Exclusions. Excluded from the Class are: (i) Defendant,
                                                                           4
                                                                                its assigns, successors, and legal representatives; (ii) any entities in which Defendant
                                                                           5
                                                                                has controlling interests; (iii) federal, state, and/or local governments, including, but
                                                                           6
                                                                                not limited to, their departments, agencies, divisions, bureaus, boards, sections,
                                                                           7
                                                                                groups, counsels, and/or subdivisions; and (iv) any judicial officer presiding over this
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                                                                           8
                                                                                matter and person within the third degree of consanguinity to such judicial officer.
                                                                           9
                                                                                     58.    Reservation of Rights to Amend the Class Definition. Plaintiffs reserve
                                                                           10
                                                                                the right to amend or otherwise alter the class definition presented to the Court at the
                                                                           11
                                                                                appropriate time in response to facts learned through discovery, legal arguments
                                                                           12
                                                                                advanced by Defendant, or otherwise.
                                                                           13
                                                                                     59.    Numerosity. Members of the Class are so numerous that joinder of all
                                                                           14
                                                                                members is impracticable. Upon information and belief, the Nationwide Class
                                                                           15
                                                                                consists of tens of thousands of purchasers (if not more) dispersed throughout the
                                                                           16
                                                                                United States, and the California Subclass likewise consists of thousands of
                                                                           17
                                                                                purchasers (if not more) dispersed throughout California. Accordingly, it would be
                                                                           18
                                                                                impracticable to join all members of the Class before the Court.
                                                                           19
                                                                                     60.    Common Questions Predominate. There are numerous and substantial
                                                                           20
                                                                                questions of law or fact common to all members of the Class that predominate over
                                                                           21
                                                                                any individual issues. Included within the common questions of law or fact are:
                                                                           22
                                                                                         a. Whether Defendant engaged in unlawful, unfair or deceptive business
                                                                           23
                                                                                            practices by advertising and selling the Product;
                                                                           24
                                                                                         b. Whether Defendant’s conduct of advertising and selling the Product
                                                                           25
                                                                                            constitutes an unfair method of competition, or unfair or deceptive act or
                                                                           26
                                                                                            practice, in violation of Civil Code section 1750, et seq.;
                                                                           27
                                                                                         c. Whether Defendant used deceptive representations in connection with the
                                                                           28
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                                                                           1              sale of the Product in violation of Civil Code section 1750, et seq.;
                                                                           2           d. Whether Defendant represented that the Product has characteristics or
                                                                           3              quantities that it does not have in violation of Civil Code section 1750, et
                                                                           4              seq.;
                                                                           5           e. Whether Defendant advertised the Product with intent not to sell it as
                                                                           6              advertised in violation of Civil Code section 1750, et seq.;
                                                                           7           f. Whether Defendant’s labeling and advertising of the Product are untrue
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                                                                           8              or misleading in violation of Business and Professions Code section
                                                                           9              17500, et seq.;
                                                                           10          g. Whether Defendant knew or by the exercise of reasonable care should
                                                                           11             have known its labeling and advertising was and is untrue or misleading
                                                                           12             in violation of Business and Professions Code section 17500, et seq.;
                                                                           13          h. Whether Defendant’s conduct is an unfair business practice within the
                                                                           14             meaning of Business and Professions Code section 17200, et seq.;
                                                                           15          i. Whether Defendant’s conduct is a fraudulent business practice within the
                                                                           16             meaning of Business and Professions Code section 17200, et seq.;
                                                                           17          j. Whether Defendant’s conduct is an unlawful business practice within the
                                                                           18             meaning of Business and Professions Code section 17200, et seq.;
                                                                           19          k. Whether Plaintiffs and the Class paid more money for the Product than
                                                                           20             they actually received;
                                                                           21          l. How much more money Plaintiffs and the Class paid for the Product than
                                                                           22             they actually received;
                                                                           23          m. Whether Defendant’s practices violated California’s Confidentiality of
                                                                           24             Medical Information Act, Civil Code section 56, et seq.;
                                                                           25          n. Whether Defendant’s conduct constitutes breach of warranty;
                                                                           26          o. Whether Defendant’s conduct constitutes fraud, deceit, and/or
                                                                           27             misrepresentation;
                                                                           28          p. Whether Defendant’s conduct constitutes a negligent misrepresentation;
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                                                                           1                q. Whether Defendant was unjustly enriched by its unlawful conduct; and
                                                                           2                r. Whether Plaintiffs and the Class are entitled to injunctive relief.
                                                                           3         61.       Typicality. Plaintiffs’ claims are typical of the claims of the Class
                                                                           4    Members they seek to represent because Plaintiffs, like the Class Members, purchased
                                                                           5    Defendant’s misleading and deceptive Products. Defendant’s unlawful, unfair and/or
                                                                           6    fraudulent actions concern the same business practices described herein irrespective
                                                                           7    of where they occurred or were experienced. Plaintiffs and the Class sustained similar
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                                                                           8    injuries arising out of Defendant’s conduct. Plaintiffs’ and Class Members’ claims
                                                                           9    arise from the same practices and course of conduct and are based on the same legal
                                                                           10   theories.
                                                                           11        62.       Adequacy. Plaintiffs are adequate representatives of the Class they seek
                                                                           12   to represent because their interests do not conflict with the interests of the Class
                                                                           13   Members Plaintiffs seek to represent. Plaintiffs will fairly and adequately protect
                                                                           14   Class Members’ interests and have retained counsel experienced and competent in the
                                                                           15   prosecution of complex class actions, including complex questions that arise in
                                                                           16   consumer protection litigation.
                                                                           17        63.       Superiority and Substantial Benefit. A class action is superior to other
                                                                           18   methods for the fair and efficient adjudication of this controversy, since individual
                                                                           19   joinder of all members of the Class is impracticable and no other group method of
                                                                           20   adjudication of all claims asserted herein is more efficient and manageable for at least
                                                                           21   the following reasons:
                                                                           22               a. The claims presented in this case predominate over any questions of law
                                                                           23                  or fact, if any exist at all, affecting any individual member of the Class;
                                                                           24               b. Absent a Class, the members of the Class will continue to suffer damages
                                                                           25                  and Defendant’s unlawful conduct will continue without remedy while
                                                                           26                  Defendant profits from and enjoy its ill-gotten gains;
                                                                           27               c. Given the size of individual Class Members’ claims, few, if any, Class
                                                                           28                  Members could afford to or would seek legal redress individually for the
                                                                                                                           -39-
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                                                                           1                wrongs Defendant committed against them, and absent Class Members
                                                                           2                have no substantial interest in individually controlling the prosecution of
                                                                           3                individual actions;
                                                                           4             d. When the liability of Defendant has been adjudicated, claims of all
                                                                           5                members of the Class can be administered efficiently and/or determined
                                                                           6                uniformly by the Court; and
                                                                           7             e. This action presents no difficulty that would impede its management by
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                                                                           8                the Court as a class action, which is the best available means by which
                                                                           9                Plaintiffs and Class Members can seek redress for the harm caused to
                                                                           10               them by Defendant.
                                                                           11        64.    Inconsistent Rulings. Because Plaintiffs seek relief for all members of
                                                                           12   the Class, the prosecution of separate actions by individual members would create a
                                                                           13   risk of inconsistent or varying adjudications with respect to individual members of
                                                                           14   the Class, which would establish incompatible standards of conduct for Defendant.
                                                                           15        65.    Injunctive/Equitable Relief. The prerequisites to maintaining a class
                                                                           16   action for injunctive or equitable relief pursuant to Fed. R. Civ. P. 23(b)(2) are met as
                                                                           17   Defendant has acted or refused to act on grounds generally applicable to the Class,
                                                                           18   thereby making appropriate final injunctive or equitable relief with respect to the
                                                                           19   Class as a whole.
                                                                           20        66.    Manageability. Plaintiffs and their counsel are unaware of any
                                                                           21   difficulties that are likely to be encountered in the management of this action that
                                                                           22   would preclude its maintenance as a class action.
                                                                           23                                  CAUSES OF ACTION
                                                                           24                                       COUNT ONE
                                                                           25                    Violation of California Unfair Competition Law
                                                                           26                        (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                                                           27                          (On Behalf of the California Subclass)
                                                                           28        67.    Incorporation by Reference. Plaintiffs re-allege and incorporate by
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                                                                           1    reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           2          68.    California Subclass. This cause of action is brought pursuant to Business
                                                                           3    and Professions Code Section 17200, et seq., on behalf of Plaintiffs and a California
                                                                           4    Subclass who purchased the Product within the applicable statute of limitations.
                                                                           5          69.    The UCL. California Business & Professions Code, sections 17200, et
                                                                           6    seq. prohibits unfair competition and provides, in pertinent part, that “unfair
                                                                           7    competition shall mean and include unlawful, unfair or fraudulent business practices
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                                                                           8    and unfair, deceptive, untrue or misleading advertising.”
                                                                           9          70.    False Advertising Claims. Defendant, in its advertising and packaging
                                                                           10   of the Product, made false and misleading statements and fraudulent omissions
                                                                           11   regarding the quality and characteristics of the Product. Such claims and omissions
                                                                           12   appear on the label and packaging of the Product, which are sold at retail stores and
                                                                           13   online.
                                                                           14         71.    Defendant’s Deliberately False and Fraudulent Marketing Scheme.
                                                                           15   Defendant does not have any reasonable basis for the claims about the Product made
                                                                           16   in Defendant’s advertising and on Defendant’s packaging or labeling because the
                                                                           17   Product cannot test for food sensitivities. Defendant knew and knows that the
                                                                           18   Products cannot test for food sensitivities, though Defendant intentionally advertised
                                                                           19   and marketed the Products to deceive reasonable consumers into believing that
                                                                           20   Product could perform as advertised.
                                                                           21         72.    False Advertising Claims Cause Purchase of Product. Defendant’s
                                                                           22   labeling and advertising of the Product led to, and continues to lead to, reasonable
                                                                           23   consumers, including Plaintiffs, believing that the Products can test for food
                                                                           24   sensitivities.
                                                                           25         73.    Injury in Fact. Plaintiffs and the California Subclass have suffered injury
                                                                           26   in fact and have lost money or property as a result of and in reliance upon Defendant’s
                                                                           27   false advertising claims—namely Plaintiffs and the California Subclass lost the
                                                                           28   purchase price for the Product they bought from Defendant.
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                                                                           1          74.   Conduct Violates the UCL. Defendant’s conduct, as alleged herein,
                                                                           2    constitutes unfair, unlawful, and fraudulent business practices pursuant to the UCL.
                                                                           3    The UCL prohibits unfair competition and provides, in pertinent part, that “unfair
                                                                           4    competition shall mean and include unlawful, unfair or fraudulent business practices
                                                                           5    and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof. Code §
                                                                           6    17200. In addition, Defendant’s use of various forms of advertising media to
                                                                           7    advertise, call attention to, or give publicity to the sale of goods or merchandise that
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                                                                           8    are not as represented in any manner constitutes unfair competition, unfair, deceptive,
                                                                           9    untrue or misleading advertising, and an unlawful business practice within the
                                                                           10   meaning of Business and Professions Code Sections 17200 and 17531, which
                                                                           11   advertisements have deceived and are likely to deceive the consuming public, in
                                                                           12   violation of Business and Professions Code Section 17200.
                                                                           13         75.   No Reasonably Available Alternatives/Legitimate Business Interests.
                                                                           14   Defendant failed to avail itself of reasonably available, lawful alternatives to further
                                                                           15   its legitimate business interests.
                                                                           16         76.   Business Practice. All of the conduct alleged herein occurred and
                                                                           17   continues to occur in Defendant’s business. Defendant’s wrongful conduct is part of
                                                                           18   a pattern, practice and/or generalized course of conduct, which will continue daily
                                                                           19   until Defendant voluntarily alters its conduct or Defendant is otherwise ordered to do
                                                                           20   so.
                                                                           21         77.   Injunction. Pursuant to Business and Professions Code Sections 17203
                                                                           22   and 17535, Plaintiffs and the members of the California Subclass seek an order of this
                                                                           23   Court enjoining Defendant from continuing to engage, use, or employ its practice of
                                                                           24   labeling and advertising the sale and use of the Product. Likewise, Plaintiffs and the
                                                                           25   members of the California Subclass seek an order requiring Defendant to disclose
                                                                           26   such misrepresentations, and to preclude Defendant’s failure to disclose the existence
                                                                           27   and significance of said misrepresentations.
                                                                           28         78.   Causation/Damages. As a direct and proximate result of Defendant’s
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                                                                           1    misconduct in violation of the UCL, Plaintiffs and members of the California Subclass
                                                                           2    were harmed in the amount of the purchase price they paid for the Product. Further,
                                                                           3    Plaintiffs and members of the California Subclass have suffered and continue to suffer
                                                                           4    economic losses and other damages including, but not limited to, the amounts paid
                                                                           5    for the Product, and any interest that would have accrued on those monies, in an
                                                                           6    amount to be proven at trial. Accordingly, Plaintiffs seek a monetary award for
                                                                           7    violation of the UCL in damages, restitution, and/or disgorgement of ill-gotten gains
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                                                                           8    to compensate Plaintiffs and the California Subclass for said monies, as well as
                                                                           9    injunctive relief to enjoin Defendant’s misconduct to prevent ongoing and future harm
                                                                           10   that will result.
                                                                           11                                     “Unfair” Prong
                                                                           12         79.    Unfair Standard. Under the UCL, a challenged activity is “unfair” when
                                                                           13   “any injury it causes outweighs any benefits provided to consumers and the injury is
                                                                           14   one that the consumers themselves could not reasonably avoid.” Camacho v. Auto
                                                                           15   Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                                           16         80.    Injury. Defendant’s action of mislabeling the Product with the
                                                                           17   Challenged Representations does not confer any benefit to consumers; rather, doing
                                                                           18   so causes injuries to consumers, who do not receive products commensurate with their
                                                                           19   reasonable expectations, overpay for the Product, and receive a product of lesser
                                                                           20   standards than what they reasonably expected to receive. Consumers cannot avoid
                                                                           21   any of the injuries caused by Defendant’s deceptive labeling and advertising of the
                                                                           22   Product. Accordingly, the injuries caused by Defendant’s deceptive labeling and
                                                                           23   advertising outweigh any benefits.
                                                                           24         81.    Defendant’s unfair conduct also includes its widespread violation of
                                                                           25   Plaintiff’s and California Class Members’ rights to privacy, in the way Defendant
                                                                           26   collects information, tracks consumers’ private and personal information, as well as
                                                                           27   health information.
                                                                           28         82.    Reasonable consumers expect Defendant to comply with HIPPA
                                                                                                                       -43-
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                                                                           1    requirements given that Defendant handles consumers’ personal information.
                                                                           2    Defendant’s actions do not confer any benefit to consumers; and consumers cannot
                                                                           3    avoid these injuries – misuse of their personal data, and invasion of privacy.
                                                                           4         83.    Balancing Test. Some courts conduct a balancing test to decide if a
                                                                           5    challenged activity amounts to unfair conduct under California Business and
                                                                           6    Professions Code Section 17200. They “weigh the utility of the defendant’s conduct
                                                                           7    against the gravity of the harm to the alleged victim.” Davis v. HSBC Bank Nevada,
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                                                                           8    N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).
                                                                           9         84.    No Utility. Here, Defendant’s conduct has no utility and financially
                                                                           10   harms consumers. Thus, the utility of Defendant’s conduct is vastly outweighed by
                                                                           11   the gravity of harm.
                                                                           12        85.    Legislative Declared Policy. Some courts require that “unfairness must
                                                                           13   be tethered to some legislative declared policy or proof of some actual or threatened
                                                                           14   impact on competition.” Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735
                                                                           15   (9th Cir. 2007).
                                                                           16        86.    Unfair Conduct. Defendant’s labeling and advertising of the Product, as
                                                                           17   alleged herein, is false, deceptive, misleading, and unreasonable, and constitutes
                                                                           18   unfair conduct. Similarly, Defendant’s collection and misuse of consumers personal
                                                                           19   information, personal data, and health data, constitute unfair conduct. Defendant
                                                                           20   knew or should have known of its unfair conduct. Defendant’s misrepresentations
                                                                           21   constitute an unfair business practice within the meaning of California Business and
                                                                           22   Professions Code Section 17200.
                                                                           23        87.    Reasonably Available Alternatives. There existed reasonably available
                                                                           24   alternatives to further Defendant’s legitimate business interests, other than the
                                                                           25   conduct described herein.
                                                                           26        88.    Defendant’s Wrongful Conduct. All of the conduct alleged herein
                                                                           27   occurs and continues to occur in Defendant’s business. Defendant’s wrongful conduct
                                                                           28   is part of a pattern or generalized course of conduct repeated on thousands of
                                                                                                                       -44-
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                                                                           1    occasions daily.
                                                                           2                                     “Fraudulent” Prong
                                                                           3          89.   Fraud Standard. The UCL considers conduct fraudulent (and prohibits
                                                                           4    said conduct) if it is likely to deceive members of the public. Bank of the West v.
                                                                           5    Superior Court, 2 Cal. 4th 1254, 1267 (1992).
                                                                           6          90.   Fraudulent & Material Challenged Representations. Defendant
                                                                           7    included the Challenged Representations with the intent to sell the Product to
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                                                                           8    consumers, including Plaintiffs and the California Subclass. The Challenged
                                                                           9    Representations are false, and Defendant knew or should have known of their falsity.
                                                                           10   The Challenged Representations are likely to deceive consumers into purchasing the
                                                                           11   Product because they are material to the average, ordinary, and reasonable consumer.
                                                                           12         91.   Fraudulent Business Practice. As alleged herein, the misrepresentations
                                                                           13   by Defendant constitute a fraudulent business practice in violation of California
                                                                           14   Business & Professions Code Section 17200.
                                                                           15         92.   Reasonable and Detrimental Reliance. Plaintiffs and the California
                                                                           16   Subclass reasonably and detrimentally relied on the material and false Challenged
                                                                           17   Representations to their detriment in that they purchased the Product.
                                                                           18         93.   Reasonably Available Alternatives. Defendant had reasonably
                                                                           19   available alternatives to further its legitimate business interests, other than the conduct
                                                                           20   described herein.
                                                                           21         94.   Business Practice. All of the conduct alleged herein occurs and continues
                                                                           22   to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                           23   or generalized course of conduct.
                                                                           24                                      “Unlawful” Prong
                                                                           25         95.   Unlawful Standard. The UCL identifies violations of other laws as
                                                                           26   “unlawful practices that the unfair competition law makes independently actionable.”
                                                                           27   Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                                           28         96.   Violations of CLRA and FAL. Defendant’s labeling of the Products, as
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                                                                           1    alleged herein, violates California Civil Code sections 1750, et seq. (the “CLRA”) and
                                                                           2    California Business and Professions Code sections 17500, et seq. (the “FAL”) as set
                                                                           3    forth below in the sections regarding those causes of action.
                                                                           4          97.   Additional Violations. Defendant’s conduct in making the false
                                                                           5    representations described herein constitutes a knowing failure to adopt policies in
                                                                           6    accordance with and/or adherence to applicable laws, as set forth herein, all of which
                                                                           7    are binding upon and burdensome to their competitors. This conduct engenders an
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                                                                           8    unfair competitive advantage for Defendant, thereby constituting an unfair, fraudulent
                                                                           9    and/or unlawful business practice under California Business & Professions Code
                                                                           10   sections 17200-17208. Additionally, Defendant’s conduct, tracking of consumers’
                                                                           11   data (both personal and health information, geolocation, etc.) and misuse of such vast
                                                                           12   variety of information (including sharing/disclosing such information to Meta
                                                                           13   Platforms while consumers are purchasing/browsing Defendant’s website) violate
                                                                           14   California Civil Code sections 1572, 1573, 1709, 1710, 1711, California Genetic
                                                                           15   Privacy Act, Cal. Civ. Code § 56.18-56.186, and California Consumer Records Act,
                                                                           16   Cal. Civ. Code § 1798.81.5(a)(1), HIPAA, Section 5 of the Federal Trade
                                                                           17   Commission Act (“FTCA”), 15 U.S.C. § 45, and the California Consumer Privacy
                                                                           18   Act, Cal. Civ. Code § 1798.100, et seq. as well as the common law.
                                                                           19         98.   Unlawful Conduct. Defendant’s packaging, labeling, and advertising of
                                                                           20   the Product, as alleged herein, are false, deceptive, misleading, and unreasonable, and
                                                                           21   constitute unlawful conduct. Similarly, Defendant’s collection of private information
                                                                           22   and health information as fully discussed above, and misuse of this information, also
                                                                           23   constitute unlawful conduct. Defendant knew or should have known of its unlawful
                                                                           24   conduct.
                                                                           25         99.   Reasonably Available Alternatives. Defendant had reasonably
                                                                           26   available alternatives to further its legitimate business interests, other than the conduct
                                                                           27   described herein.
                                                                           28         100. Business Practice. All of the conduct alleged herein occurs and continues
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                                                                           1    to occur in Defendant’s business. Defendant’s wrongful conduct is part of a pattern
                                                                           2    or generalized course of conduct.
                                                                           3                                         COUNT TWO
                                                                           4                       Violation of California False Advertising Law
                                                                           5                          (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                                                                           6                              (On Behalf of the California Subclass)
                                                                           7          101. Incorporation by reference. Plaintiffs re-allege and incorporate by
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                                                                           8    reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           9          102. California Subclass. Plaintiffs bring this claim individually and on
                                                                           10   behalf of the California Subclass who purchased the Product within the applicable
                                                                           11   statute of limitations.
                                                                           12         103. FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof.
                                                                           13   Code section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading
                                                                           14   advertising[.]”
                                                                           15         104. False & Material Challenged Representations Disseminated to
                                                                           16   Public. Defendant violated section 17500 when it advertised and marketed the
                                                                           17   Products through the unfair, deceptive, untrue, and misleading Challenged
                                                                           18   Representations disseminated to the public through the Product’s labeling, packaging
                                                                           19   and advertising. These representations were false because the Product does not
                                                                           20   conform to them. The representations were material because they are likely to
                                                                           21   mislead a reasonable consumer into purchasing the Product.
                                                                           22         105. Knowledge. In making and disseminating the representations alleged
                                                                           23   herein, Defendant knew or should have known that the representations were untrue
                                                                           24   or misleading, and acted in violation of § 17500.
                                                                           25         106. Intent to sell. Defendant’s Challenged Representations were specifically
                                                                           26   designed to induce reasonable consumers, like Plaintiffs and the California Subclass,
                                                                           27   to purchase the Product.
                                                                           28         107. Causation/Damages. As a direct and proximate result of Defendant’s
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                                                                           1    misconduct in violation of the FAL, Plaintiffs and members of the California Subclass
                                                                           2    were harmed in the amount of the purchase price they paid for the Product. Further,
                                                                           3    Plaintiffs and members of the Class have suffered and continue to suffer economic
                                                                           4    losses and other damages including, but not limited to, the amounts paid for the
                                                                           5    Product, and any interest that would have accrued on those monies, in an amount to
                                                                           6    be proven at trial. Accordingly, Plaintiffs seek a monetary award for violation of the
                                                                           7    FAL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate
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                                                                           8    Plaintiffs and the California Subclass for said monies, as well as injunctive relief to
                                                                           9    enjoin Defendant’s misconduct to prevent ongoing and future harm that will result.
                                                                           10                                       COUNT THREE
                                                                           11                 Violation of California Consumers Legal Remedies Act
                                                                           12                               (Cal. Civ. Code §§ 1750, et seq.)
                                                                           13                             (On Behalf of the California Subclass)
                                                                           14         108. Incorporation by Reference. Plaintiffs re-allege and incorporate by
                                                                           15   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           16         109. California Subclass. Plaintiffs bring this claim individually and on
                                                                           17   behalf of the California Subclass who purchased the Product within the applicable
                                                                           18   statute of limitations.
                                                                           19         110. CLRA Standard. The CLRA provides that “unfair methods of
                                                                           20   competition and unfair or deceptive acts or practices . . . undertaken by any person in
                                                                           21   a transaction intended to result or which results in the sale or lease of goods or services
                                                                           22   to any consumer are unlawful.” Cal. Civ. Code § 1170(a).
                                                                           23         111. Goods/Services. The Product is a “goods,” as defined by the CLRA in
                                                                           24   California Civil Code § 1761(a).
                                                                           25         112. Defendant. Defendant is a “person,” as defined by the CLRA in
                                                                           26   California Civil Code § 1761(c).
                                                                           27         113. Consumers. Plaintiffs and members of the California Subclass are
                                                                           28   “consumers,” as defined by the CLRA in California Civil Code § 1761(d).
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                                                                           1         114. Transactions. The purchase of the Product by Plaintiffs and members of
                                                                           2    the California Subclass are “transactions” as defined by the CLRA under California
                                                                           3    Civil Code section 1761(e).
                                                                           4         115. Violations of the CLRA. Defendant violated the following sections of
                                                                           5    the CLRA by selling the Product to Plaintiffs and the California Subclass through the
                                                                           6    false, misleading, deceptive, and fraudulent Challenged Representations:
                                                                           7            a. Section 1770(a)(5) by representing that the Product has “characteristics, .
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                                                                           8                 . . uses [or] benefits . . . which [it] do[es] not have.”
                                                                           9            b. Section 1770(a)(7) by representing that the Product “[is] of a particular
                                                                           10                standard, quality, or grade . . . [when it is] of another.”
                                                                           11           c. Section 1770(a)(9) by advertising the Product “with [the] intent not to sell
                                                                           12                [it] as advertised.”
                                                                           13        116. Knowledge. Defendant’s uniform and material representations and
                                                                           14   omissions regarding the Product were likely to deceive, and Defendant knew or
                                                                           15   should have known that its representations and omissions were untrue and misleading.
                                                                           16        117. Malicious. Defendant’s conduct is malicious, fraudulent, and wanton in
                                                                           17   that Defendant intentionally misled and withheld material information from
                                                                           18   consumers, including Plaintiffs, to increase the sale of the Product.
                                                                           19        118. Plaintiffs Could Not Have Avoided Injury. Plaintiffs and members of
                                                                           20   the California Subclass could not have reasonably avoided such injury. Plaintiffs and
                                                                           21   members of the California Subclass were unaware of the existence of the facts that
                                                                           22   Defendant suppressed and failed to disclose, and Plaintiffs and members of the
                                                                           23   California Subclass would not have purchased the Product and/or would have
                                                                           24   purchased it on different terms had they known the truth.
                                                                           25        119. Causation/Reliance/Materiality. Plaintiffs and the California Subclass
                                                                           26   suffered harm as a result of Defendant’s violations of the CLRA because they relied
                                                                           27   on the Challenged Representations in deciding to purchase the Product. The
                                                                           28   Challenged     Representations      were    a     substantial   factor.    The   Challenged
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                                                                           1    Representations were material because a reasonable consumer would consider them
                                                                           2    important in deciding whether to purchase the Product.
                                                                           3         120. Section 1782(d)—Prelitigation Demand/Notice. Pursuant to California
                                                                           4    Civil Code, section 1782, more than thirty days prior to the filing of this complaint,
                                                                           5    on or about April 27, 2023, Plaintiffs’ counsel, acting on behalf of Plaintiffs and all
                                                                           6    members of the Class, mailed a Demand Letter, via U.S. certified mail, return receipt
                                                                           7    requested, addressed to Defendant at its headquarters and principal place of business.
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                                                                           8         121. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           9    misconduct in violation of the CLRA, Plaintiffs and members of the California
                                                                           10   Subclass were harmed in the amount of the purchase price they paid for the Product.
                                                                           11   Further, Plaintiffs and members of the Class have suffered and continue to suffer
                                                                           12   economic losses and other damages including, but not limited to, the amounts paid
                                                                           13   for the Products, and any interest that would have accrued on those monies, in an
                                                                           14   amount to be proven at trial. Accordingly, Plaintiffs seek a monetary award for
                                                                           15   violation of this Act in the form of damages, restitution, disgorgement of ill-gotten
                                                                           16   gains to compensate Plaintiffs and the California Subclass for said monies.
                                                                           17        122. Injunction. Given that Defendant’s conduct violated California Civil
                                                                           18   Code section 1780, Plaintiffs and members of the California Subclass are entitled to
                                                                           19   seek, and do seek, injunctive relief to put an end to Defendant’s violations of the
                                                                           20   CLRA and to dispel the public misperception fostered by Defendant’s false
                                                                           21   advertising campaign. Plaintiffs have no adequate remedy at law. Without equitable
                                                                           22   relief, Defendant’s unfair and deceptive practices will continue to harm Plaintiffs and
                                                                           23   the California Subclass. Accordingly, Plaintiffs seek an injunction to enjoin
                                                                           24   Defendant from continuing to employ the unlawful methods, acts, and practices
                                                                           25   alleged herein pursuant to section 1780(a)(2), and otherwise require Defendant to take
                                                                           26   corrective action necessary to dispel the public misperception facilitated through
                                                                           27   Defendant’s deceptive labeling of the Product with the Challenged Representations.
                                                                           28        123. Punitive Damages. Defendant’s unfair, fraudulent, and unlawful
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                                                                           1    conduct described herein constitutes malicious, oppressive, and/or fraudulent conduct
                                                                           2    warranting an award of punitive damages as permitted by law. Defendant’s
                                                                           3    misconduct is malicious as Defendant acted with the intent to cause Plaintiffs and
                                                                           4    consumers to pay for a Product they were not, in fact, receiving. Defendant willfully
                                                                           5    and knowingly disregarded the rights of Plaintiffs and consumers as Defendant was,
                                                                           6    at all times, aware of the probable dangerous consequences of its conduct and
                                                                           7    deliberately failed to avoid misleading consumers, including Plaintiffs. Defendant’s
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                                                                           8    misconduct is oppressive as, at all relevant times, said conduct was so vile, base,
                                                                           9    and/or contemptible that reasonable people would look down upon it and/or otherwise
                                                                           10   would despise such corporate misconduct. Said misconduct subjected Plaintiffs and
                                                                           11   consumers to cruel and unjust hardship in knowing disregard of their rights.
                                                                           12   Defendant’s misconduct is fraudulent as Defendant, at all relevant times, intentionally
                                                                           13   misrepresented and/or concealed material facts with the intent to deceive Plaintiffs
                                                                           14   and consumers. The wrongful conduct constituting malice, oppression, and/or fraud
                                                                           15   was committed, authorized, adopted, approved, and/or ratified by officers, directors,
                                                                           16   and/or managing agents of Defendant. Accordingly, Plaintiffs seek an award of
                                                                           17   punitive damages against Defendant.
                                                                           18                                      COUNT FOUR
                                                                           19              Violation of the Confidentiality of Medical Information Act
                                                                           20                               (Cal. Civ. Code §§ 56, et seq.)
                                                                           21                          (On Behalf of the California Subclass)
                                                                           22        124. Plaintiffs re-allege and incorporate by reference all allegations contained
                                                                           23   in this complaint, as though fully set forth herein.
                                                                           24        125. Defendant is subject to the Confidentiality of Medical Information Act
                                                                           25   (CMIA) pursuant to California Civil Code § 56.10 because it is a “provider of health
                                                                           26   care” as defined by California Civil Code § 56.05(o) in that it provides health care
                                                                           27   services and maintains medical information from consumers.
                                                                           28        126. Section 56.10(a) provides, in pertinent part, that “[a] provider of health
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                                                                           1    care, . . . shall not disclose medical information regarding a patient of the provider of
                                                                           2    health care . . . without first obtaining an authorization . . . .”
                                                                           3          127. Section 56.101 of the CMIA provides, in pertinent part, that “[a]ny
                                                                           4    provider of health care . . . who negligently creates, maintains, preserves, stores,
                                                                           5    abandons, destroys, or disposes of medical information shall be subject to the
                                                                           6    remedies and penalties . . .” Cal. Civ. Code §§ 56.10, 56.101.
                                                                           7          128. Plaintiffs’ and California Subclass members’ private information
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                                                                           8    constitutes “medical information” under the CMIA because it consists of individually
                                                                           9    identifiable information in possession of and derived from a provider of healthcare
                                                                           10   regarding Plaintiffs’ and California Subclass members’ medical histories, test results,
                                                                           11   mental or physical conditions, and/or treatments.
                                                                           12         129. Defendant violated Cal. Civ. Code § 56.10 because it failed to maintain
                                                                           13   the confidentiality of users’ medical information, and instead “disclose[d] medical
                                                                           14   information regarding a patient of the provider of health care or an enrollee or
                                                                           15   subscriber of a health care service plan without first obtaining an authorization” by
                                                                           16   soliciting, intercepting, and receiving Plaintiffs’ and California Subclass members’
                                                                           17   private information, and sharing it with advertisers and for advertising purposes.
                                                                           18         130. Defendant violated Cal. Civ. Code § 56.101 because it knowingly,
                                                                           19   willfully, or negligently failed to create, maintain, preserve, store, abandon, destroy,
                                                                           20   and dispose of medical information in a manner that preserved its confidentiality by
                                                                           21   soliciting, intercepting, and receiving Plaintiffs’ and California Subclass members’
                                                                           22   private information, and sharing it with advertisers and for advertising purposes, and
                                                                           23   for Defendant’s financial gain.
                                                                           24         131. Defendant violated Cal Civ. Code § 56.36(b) because it negligently
                                                                           25   released or otherwise allowed access to confidential information and records
                                                                           26   concerning Plaintiffs and California Subclass members in violation of their rights
                                                                           27   under the CMIA.
                                                                           28         132. As a direct and proximate result of Defendant’s misconduct, Plaintiffs
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                                                                           1    and California Subclass members had their private communications containing
                                                                           2    information related to their sensitive and confidential private information intercepted,
                                                                           3    disclosed, and used by third parties.
                                                                           4          133. As a result of Defendant’s unlawful conduct, Plaintiffs and the California
                                                                           5    Subclass members suffered an injury, including violation to their rights of privacy,
                                                                           6    loss of the privacy of their private information, loss of control over their sensitive
                                                                           7    personal information, and suffered aggravation, inconvenience, and emotional
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                                                                           8    distress.
                                                                           9          134. Plaintiffs and California Subclass members are entitled to: (a) nominal
                                                                           10   damages of $1,000 per violation; (b) actual damages, in an amount to be determined
                                                                           11   at trial; (c) reasonable attorneys’ fees, and costs.
                                                                           12                                        COUNT FIVE
                                                                           13                                    Breach of Warranty
                                                                           14                                   (On Behalf of the Class)
                                                                           15         135. Incorporation by Reference. Plaintiffs re-allege and incorporate by
                                                                           16   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           17         136. Nationwide Class & California Subclass. Plaintiffs bring this claim
                                                                           18   individually and on behalf of the Nationwide Class and California Subclass (the
                                                                           19   Class) who purchased the Product within the applicable statute of limitations.
                                                                           20         137. Express Warranty. By advertising and selling the Product at issue,
                                                                           21   Defendant made promises and affirmations of fact on the Product’s packaging and
                                                                           22   labeling, and through its marketing and advertising, as described herein. This labeling
                                                                           23   and advertising constitute express warranties and became part of the basis of the
                                                                           24   bargain between Plaintiffs and members of the Class and Defendant. Defendant
                                                                           25   purports, through the Product’s labeling and advertising, to create express warranties
                                                                           26   that the Product, among other things, conforms to the Challenged Representations.
                                                                           27         138. Implied Warranty of Merchantability. By advertising and selling the
                                                                           28   Product at issue, Defendant, a merchant of goods, made promises and affirmations of
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                                                                           1    fact that the Product is merchantable and conforms to the promises or affirmations of
                                                                           2    fact made on the Product’s packaging and labeling, and through its marketing and
                                                                           3    advertising, as described herein. This labeling and advertising, combined with the
                                                                           4    implied warranty of merchantability, constitute warranties that became part of the
                                                                           5    basis of the bargain between Plaintiffs and members of the Class and Defendant—to
                                                                           6    wit, that the Product, among other things, conforms to the Challenged
                                                                           7    Representations.
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                                                                           8         139. Breach of Warranty. Contrary to Defendant’s warranties, the Product
                                                                           9    does not conform to the Challenged Representations and, therefore, Defendant
                                                                           10   breached its warranties about the Product.
                                                                           11        140. Causation/Remedies. As a direct and proximate result of Defendant’s
                                                                           12   breach of warranty, Plaintiffs and members of the Class were harmed in the amount
                                                                           13   of the purchase price they paid for the Product. Further, Plaintiffs and members of the
                                                                           14   Class have suffered and continue to suffer economic losses and other damages
                                                                           15   including, but not limited to, the amounts paid for the Products, and any interest that
                                                                           16   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                           17   Plaintiffs seek a monetary award for breach of warranty in the form of damages,
                                                                           18   restitution, or disgorgement of ill-gotten gains to compensate Plaintiffs and the Class
                                                                           19   for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to
                                                                           20   prevent ongoing and future harm that will result.
                                                                           21                                       COUNT SIX
                                                                           22                             Unjust Enrichment/Restitution
                                                                           23                                  (On Behalf of the Class)
                                                                           24        141. Incorporation by Reference. Plaintiffs re-allege and incorporate by
                                                                           25   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           26        142. Nationwide Class & California Subclass. Plaintiffs bring this claim
                                                                           27   individually and on behalf of the Nationwide Class and California Subclass (the
                                                                           28   Class) who purchased the Product within the applicable statute of limitations.
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                                                                           1         143. Plaintiffs/Class Conferred a Benefit. By purchasing the Product,
                                                                           2    Plaintiffs and members of the Class conferred a benefit on Defendant in the form of
                                                                           3    the purchase price of the Product.
                                                                           4         144. Defendant’s Knowledge of Conferred Benefit. Defendant had
                                                                           5    knowledge of such benefit and Defendant appreciated the benefit because, were
                                                                           6    consumers not to purchase the Product, Defendant would not generate revenue from
                                                                           7    the sales of the Product.
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                                                                           8         145. Defendant’s Unjust Receipt Through Deception. Defendant’s
                                                                           9    knowing acceptance and retention of the benefit is inequitable and unjust because the
                                                                           10   benefit was obtained by Defendant’s fraudulent, misleading, and deceptive
                                                                           11   representations and omissions.
                                                                           12        146. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           13   unjust enrichment, Plaintiffs and members of the Class were harmed in the amount of
                                                                           14   the purchase price they paid for the Product. Further, Plaintiffs and members of the
                                                                           15   Class have suffered and continue to suffer economic losses and other damages
                                                                           16   including, but not limited to, the amounts paid for the Product, and any interest that
                                                                           17   would have accrued on those monies, in an amount to be proven at trial. Accordingly,
                                                                           18   Plaintiffs seeks a monetary award for unjust enrichment in damages, restitution, or
                                                                           19   disgorgement of ill-gotten gains to compensate Plaintiffs and the Class for said
                                                                           20   monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent
                                                                           21   ongoing and future harm that will result.
                                                                           22                                     COUNT SEVEN
                                                                           23                Common Law Fraud, Deceit, and/or Misrepresentation
                                                                           24                                  (On Behalf of the Class)
                                                                           25        147. Incorporation by Reference. Plaintiffs re-allege and incorporate by
                                                                           26   reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           27        148. Nationwide Class & California Subclass. Plaintiffs bring this claim
                                                                           28   individually and on behalf of the Nationwide Class and California Subclass (the
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                                                                           1    Class) who purchased the Product within the applicable statute of limitations.
                                                                           2         149. Misrepresentation. Defendant fraudulently and deceptively informed
                                                                           3    Plaintiffs and Class members that Defendant’s Product could identify food
                                                                           4    sensitivities, while intentionally omitting material information IgG cannot test for
                                                                           5    food sensitivities as advertised.
                                                                           6         150. Knowledge of Falsity. These misrepresentations and omissions were
                                                                           7    known exclusively to, and actively concealed by, Defendant, not reasonably known
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                                                                           8    or knowable to Plaintiffs, and material at the time they were made. Defendant
                                                                           9    intended to deceive consumers through its Product packaging and advertising as to its
                                                                           10   ability to identify food sensitivities, when Defendant knew its Product had no such
                                                                           11   functionality or medical/health benefit whatsoever. Defendant intentionally,
                                                                           12   knowingly, and recklessly made these misrepresentations to induce Plaintiffs to
                                                                           13   purchase the Product and provide personal and private consumer information.
                                                                           14   Defendant thereby allowed its packaging, labels, advertisements, promotional
                                                                           15   materials, and websites to intentionally mislead consumers, such as Plaintiffs.
                                                                           16        151. Justifiable      Reliance.   Plaintiffs    did    in     fact   rely    on   these
                                                                           17   misrepresentations and omissions and purchased the Product and provided their
                                                                           18   private consumer information to their detriment. Given the deceptive manner in which
                                                                           19   Defendant advertised, represented, and otherwise promoted the Product, Plaintiffs’
                                                                           20   reliance   on   Defendant’s     misrepresentations    was        justifiable.    Defendant’s
                                                                           21   misrepresentations and omissions concerned material facts that were essential to the
                                                                           22   analysis undertaken by Plaintiffs as to whether to purchase the Product and provide
                                                                           23   personal and private consumer information. In misleading Plaintiffs, Defendant
                                                                           24   breached its duty to them, and gained financially from and as a result of this breach
                                                                           25   of duty.
                                                                           26        152. Causation/Damages. As a direct and proximate result of Defendant’s
                                                                           27   conduct, Plaintiffs have suffered actual damages in that they have purchased Product
                                                                           28   that are useless, or at a minimum, worth less than the price they paid, and that they
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                                                                           1    would not have purchased at all had they known the truth. They have also suffered
                                                                           2    actual damages from providing to Defendant their personal and private consumer
                                                                           3    information. Accordingly, Plaintiffs seek actual damages, injunctive and declaratory
                                                                           4    relief, attorneys’ fees, costs, and any other just and proper relief available.
                                                                           5                                       COUNT EIGHT
                                                                           6                                Negligent Misrepresentation
                                                                           7                                   (On Behalf of the Class)
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                                                                           8          153. Incorporation by Reference. Plaintiffs re-allege and incorporate by
                                                                           9    reference all allegations contained in this complaint, as though fully set forth herein.
                                                                           10         154. Nationwide Class & California Subclass. Plaintiffs bring this claim
                                                                           11   individually and on behalf of the Nationwide Class and California Subclass (the
                                                                           12   Class) who purchased the Product within the applicable statute of limitations.
                                                                           13         155. Duty. Defendant had a duty to Plaintiffs to exercise reasonable and
                                                                           14   ordinary care in the formulation, testing, manufacturing, marketing, distribution, and
                                                                           15   sale of the Product and acquisition of personal and private consumer information.
                                                                           16         156. Breach of Duty. Defendant breached its duty to Plaintiffs by
                                                                           17   formulating, testing, manufacturing, advertising, marketing, distributing, and selling
                                                                           18   a Product that does not work as advertised and by asserting a right of ownership and
                                                                           19   control over the personal and private consumer information. Defendant knew or
                                                                           20   should have known the Product was not suitable for its intended use and was
                                                                           21   otherwise not as warranted and represented by Defendant.
                                                                           22         157. Injury. As a direct and proximate result of Defendant’s conduct,
                                                                           23   Plaintiffs have suffered actual damages in that they have purchased a Product that is
                                                                           24   useless, or at a minimum, worth less than the price they paid, and that they would not
                                                                           25   have purchased the Product at all had they known the truth. They have also suffered
                                                                           26   actual damages from providing to Defendant their personal and private consumer
                                                                           27   information. Accordingly, Plaintiffs seek actual damages, injunctive and declaratory
                                                                           28   relief, attorneys’ fees, costs, and any other just and proper relief available.
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                                                                           1                                 PRAYER FOR RELIEF
                                                                           2         Plaintiffs, individually and on behalf of all others similarly situated, pray for
                                                                           3    judgment against Defendant as follows:
                                                                           4            a. Certification: For an order certifying this action as a class action,
                                                                           5               appointing Plaintiffs as the class representatives, and appointing
                                                                           6               Plaintiffs’ counsel as class counsel;
                                                                           7            b. Declaratory Relief: For an order declaring that Defendant’s conduct
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                                                                           8               violates the statutes and laws referenced herein;
                                                                           9            c. Injunction: For an order requiring Defendant to immediately cease and
                                                                           10              desist from selling the unlawful Product; enjoining Defendant from
                                                                           11              continuing to market, advertise, distribute, and sell the Product in the
                                                                           12              unlawful manner described herein; compelling Defendant to clearly
                                                                           13              disclose, inform, and obtain affirmative consent from consumers
                                                                           14              regarding its collection, use, and sharing of consumers’ personal data as
                                                                           15              described herein; requiring Defendant to engage in an affirmative
                                                                           16              advertising campaign to dispel the public misperception of the Product
                                                                           17              resulting from Defendant’s unlawful conduct; and requiring all further
                                                                           18              and just corrective action, consistent with permissible law and pursuant
                                                                           19              to only those causes of action so permitted;
                                                                           20           d. Damages/Restitution/Disgorgement: For an order awarding monetary
                                                                           21              compensation in the form of damages, restitution, and/or disgorgement to
                                                                           22              Plaintiffs and the Class, consistent with permissible law and pursuant to
                                                                           23              only those causes of action so permitted;
                                                                           24           e. Punitive Damages/Penalties: For an order awarding punitive damages,
                                                                           25              statutory penalties, and/or monetary fines, consistent with permissible
                                                                           26              law and pursuant to only those causes of action so permitted;
                                                                           27           f. Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and
                                                                           28              costs, consistent with permissible law and pursuant to only those causes
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                                                                           1                  of action so permitted;
                                                                           2               g. Pre/Post-Judgment Interest: For an order awarding pre-judgment and
                                                                           3                  post-judgment interest, consistent with permissible law and pursuant to
                                                                           4                  only those causes of action so permitted; and
                                                                           5               h. All Just & Proper Relief: For such other and further relief as the Court
                                                                           6                  deems just and proper.
                                                                           7                                DEMAND FOR JURY TRIAL
Clarkson Law Firm, P.C. | 22525 Pacific Coast Highway | Malibu, CA 90265




                                                                           8          Plaintiffs hereby demand a trial by jury on all issues and causes of action so
                                                                           9    triable.
                                                                           10

                                                                           11   DATED: June 8, 2023                             Respectfully submitted,

                                                                           12                                                   CLARKSON LAW FIRM, P.C.
                                                                           13
                                                                                                                                By: /s/ Bahar Sodaify
                                                                           14                                                       Ryan J. Clarkson, Esq.
                                                                           15                                                       Bahar Sodaify, Esq.
                                                                                                                                    Alan Gudino, Esq.
                                                                           16                                                       Ryan D. Ardi, Esq.
                                                                           17
                                                                                                                                     Attorneys for Plaintiffs
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                                                                                                           CLASS ACTION COMPLAINT
